                                                     Case 14-51148                       Doc 1           Filed 10/17/14                       Page 1 of 80
B1 (Official Form 1)(04/13)
                                                  United States Bankruptcy Court
                                   Middle District of North Carolina (NC Exemptions)                                                                               Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Stout, Gregory John                                                                                          Stout, Donna Norman


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-0597                                                                                                  xxx-xx-0704
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  5716 Rena Road                                                                                              5716 Rena Road
  Hamptonville, NC                                                                                            Hamptonville, NC
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         27020                                                                                         27020
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Yadkin                                                                                                       Yadkin
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                            Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                            Chapter 11
     Partnership                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                           Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000

Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
                                         Case 14-51148                Doc 1        Filed 10/17/14                Page 2 of 80
B1 (Official Form 1)(04/13)                                                                                                                                                 Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Stout, Gregory John
(This page must be completed and filed in every case)                                   Stout, Donna Norman
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X     /s/ Christopher Avery for John T. Orcutt
                                                                                                                                 October 17, 2014
                                                                                            Signature of Attorney for Debtor(s)                     (Date)
                                                                                              Christopher Avery for John T. Orcutt 44190

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                         Case 14-51148                   Doc 1             Filed 10/17/14             Page 3 of 80
B1 (Official Form 1)(04/13)                                                                                                                                               Page 3
                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Stout, Gregory John
(This page must be completed and filed in every case)                                       Stout, Donna Norman
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                          Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this                 I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                            is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and             proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                              (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                    I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                  Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                  Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,             of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                  recognition of the foreign main proceeding is attached.


      /s/ Gregory John Stout                                                                 X
 X                                                                                               Signature of Foreign Representative
     Signature of Debtor Gregory John Stout

 X    /s/ Donna Norman Stout                                                                     Printed Name of Foreign Representative
     Signature of Joint Debtor Donna Norman Stout
                                                                                                 Date
     Telephone Number (If not represented by attorney)                                              Signature of Non-Attorney Bankruptcy Petition Preparer
     October 17, 2014
                                                                                                 I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                        preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                 compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                             and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                                 110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                                 pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Christopher Avery for John T. Orcutt
                                                                                                 chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                         of the maximum amount before preparing any document for filing for a
      Christopher Avery for John T. Orcutt 44190                                                 debtor or accepting any fee from the debtor, as required in that section.
                                                                                                 Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      The Law Offices of John T. Orcutt, PC
                                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      6616-203 Six Forks Road
      Raleigh, NC 27615                                                                          Social-Security number (If the bankrutpcy petition preparer is not
                                                                                                 an individual, state the Social Security number of the officer,
                                                                                                 principal, responsible person or partner of the bankruptcy petition
     Address                                                                                     preparer.)(Required by 11 U.S.C. § 110.)

                         Email: postlegal@johnorcutt.com
      (919) 847-9750 Fax: (919) 847-3439
     Telephone Number
     October 17, 2014
                                                                                                 Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the              X
     information in the schedules is incorrect.
                                                                                                 Date
                Signature of Debtor (Corporation/Partnership)
                                                                                                 Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                    person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                    Names and Social-Security numbers of all other individuals who prepared or
                                                                                                 assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United               not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                                 If more than one person prepared this document, attach additional sheets
                                                                                                 conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                                 A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                                 title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                              fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
                                             Case 14-51148                 Doc 1      Filed 10/17/14          Page 4 of 80
B 6 Summary (Official Form 6 - Summary) (12/13)


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                                                               United States Bankruptcy Court
                                                    Middle District of North Carolina (NC Exemptions)
  In re          Gregory John Stout,                                                                             Case No.
                 Donna Norman Stout
                                                                                                        ,
                                                                                       Debtors                   Chapter                  13




                                                                   SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                          ATTACHED          NO. OF           ASSETS                   LIABILITIES            OTHER
                                                         (YES/NO)         SHEETS

A - Real Property                                              Yes           1                   111,353.00


B - Personal Property                                          Yes           21                   15,967.72


C - Property Claimed as Exempt                                 Yes           3


D - Creditors Holding Secured Claims                           Yes           2                                             106,129.93


E - Creditors Holding Unsecured                                Yes           3                                               3,700.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                Yes           9                                              18,549.07
    Nonpriority Claims

G - Executory Contracts and                                    Yes           1
   Unexpired Leases

H - Codebtors                                                  Yes           1


I - Current Income of Individual                               Yes           2                                                                     4,718.96
    Debtor(s)

J - Current Expenditures of Individual                         Yes           2                                                                     2,632.30
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                   45


                                                                       Total Assets              127,320.72


                                                                                         Total Liabilities                 128,379.00




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B 6 Summary (Official Form 6 - Summary) (12/13)


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                                                               United States Bankruptcy Court
                                                    Middle District of North Carolina (NC Exemptions)
  In re           Gregory John Stout,                                                                                  Case No.
                  Donna Norman Stout
                                                                                                            ,
                                                                                         Debtors                       Chapter              13


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                    Amount

              Domestic Support Obligations (from Schedule E)                                                        0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                                    0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                    0.00

              Student Loan Obligations (from Schedule F)                                                            0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                    0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                    0.00

                                                                              TOTAL                                 0.00


              State the following:

              Average Income (from Schedule I, Line 12)                                                         4,718.96

              Average Expenses (from Schedule J, Line 22)                                                       2,632.30

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                          4,599.58


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                   3,893.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                3,700.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                          0.00

              4. Total from Schedule F                                                                                            18,549.07

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                        22,442.07




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B 201A (Form 201A) (6/14)



                                        UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF NORTH CAROLINA (NC EXEMPTIONS)
                                         NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                  OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total Fee $335)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$75 administrative fee: Total Fee $310)
            Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


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Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

            Chapter 11: Reorganization ($1,167 filing fee, $550 administrative fee: Total Fee $1,717)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total Fee $275)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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B 201B (Form 201B) (12/09)
                                                              United States Bankruptcy Court
                                                   Middle District of North Carolina (NC Exemptions)
            Gregory John Stout
 In re      Donna Norman Stout                                                                              Case No.
                                                                                Debtor(s)                   Chapter      13

                                    CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                        UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                     Certification of Attorney
            I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.
                                                                                     /s/ Christopher Avery for John T.
 Christopher Avery for John T. Orcutt 44190                                       X Orcutt                                    October 17, 2014
Printed Name of Attorney                                                            Signature of Attorney                     Date
Address:
6616-203 Six Forks Road
Raleigh, NC 27615
(919) 847-9750
postlegal@johnorcutt.com

                                                                     Certification of Debtor
            I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
 Gregory John Stout
 Donna Norman Stout                                                               X /s/ Gregory John Stout                    October 17, 2014
 Printed Name(s) of Debtor(s)                                                       Signature of Debtor                       Date

 Case No. (if known)                                                              X /s/ Donna Norman Stout                    October 17, 2014
                                                                                    Signature of Joint Debtor (if any)        Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                                                              United States Bankruptcy Court
                                                   Middle District of North Carolina (NC Exemptions)
             Gregory John Stout
 In re       Donna Norman Stout                                                                               Case No.
                                                                              Debtor(s)                       Chapter       13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  3,700.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                  3,700.00

2.     $    0.00      of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                   Debtor                Other (specify):

4.     The source of compensation to be paid to me is:

                   Debtor                Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Exemption planning, Means Test planning, and other items if specifically included in attorney/client fee contract
                 or required by Bankruptcy Court local rule.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding, and any other items excluded in attorney/client fee contract or excluded by
               Bankruptcy Court local rule.

                   Fee also collected, where applicable, include such things as: Pacer access: $10 per case, Credit Reports: $10
                   each, Judgment Search: $10 each, Credit Counseling Certification: Usually $34 per case, Financial Management
                   Class Certification: Usually $8 each, Use of computers for Credit Counseling briefing or Financial Managment
                   Class: $10 per session, or paralegal typing assistance regarding credit counseling briefing: $75 per session.
                                                                       CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:      October 17, 2014                                                 /s/ Christopher Avery for John T. Orcutt
                                                                              Christopher Avery for John T. Orcutt 44190
                                                                              The Law Offices of John T. Orcutt, PC
                                                                              6616-203 Six Forks Road
                                                                              Raleigh, NC 27615
                                                                              (919) 847-9750 Fax: (919) 847-3439
                                                                              postlegal@johnorcutt.com




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B 1D (Official Form 1, Exhibit D) (12/09)
                                                              United States Bankruptcy Court
                                                   Middle District of North Carolina (NC Exemptions)
            Gregory John Stout
 In re      Donna Norman Stout                                                                    Case No.
                                                                              Debtor(s)           Chapter     13




                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.
           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.
           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                              Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
             I certify under penalty of perjury that the information provided above is true and correct.

                                                       Signature of Debtor:         /s/ Gregory John Stout
                                                                                    Gregory John Stout
                                                       Date:         October 17, 2014




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B 1D (Official Form 1, Exhibit D) (12/09)
                                                              United States Bankruptcy Court
                                                   Middle District of North Carolina (NC Exemptions)
            Gregory John Stout
 In re      Donna Norman Stout                                                                    Case No.
                                                                              Debtor(s)           Chapter     13




                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.
           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.
           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                             Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
             I certify under penalty of perjury that the information provided above is true and correct.

                                                       Signature of Debtor:        /s/ Donna Norman Stout
                                                                                   Donna Norman Stout
                                                       Date:         October 17, 2014




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B6A (Official Form 6A) (12/07)


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  In re         Gregory John Stout,                                                                            Case No.
                Donna Norman Stout
                                                                                                   ,
                                                                                   Debtors
                                                              SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                 Husband,    Current Value of
                                                                         Nature of Debtor's       Wife,     Debtor's Interest in             Amount of
                Description and Location of Property                     Interest in Property     Joint, or  Property, without              Secured Claim
                                                                                                Community Deducting  any Secured
                                                                                                            Claim or Exemption

.IMPORTANT NOTICES:                                                                                    -                        0.00                        0.00

(1) Valuation Method (Sch. A & B): FMV unless
otherwise noted.

(2) Creditor claims disclosed on Sch. D, E & F are
estimates only, drawn largely from unverified
information provided by the creditor, and shall not
be considered an admission by the Debtor(s) of the
amount owed, interest, late fees, etc. Nor is this
listing of a creditor or representatives an admission
by the Debtor(s) that such parties are actual owners
of such claims.

House and Land:                                                          Tenancy by the Entirety       J                  111,353.00                94,056.93
5716 Rena Road
Hamptonville NC 27020
Tax Value




                                                                                                   Sub-Total >            111,353.00       (Total of this page)

                                                                                                           Total >        111,353.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                   (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)


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  In re         Gregory John Stout,                                                                                Case No.
                Donna Norman Stout
                                                                                                       ,
                                                                                      Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

1.    Cash on hand                                            Cash                                                            H                            15.00

2.    Checking, savings or other financial                    Wells Fargo                                                     H                            50.00
      accounts, certificates of deposit, or                   Checking and Savings
      shares in banks, savings and loan,
      thrift, building and loan, and                          Wells Fargo                                                     W                              5.00
      homestead associations, or credit                       Checking and Savings
      unions, brokerage houses, or
      cooperatives.                                           Capital Bank                                                    J                              0.00
                                                              Checking Account

3.    Security deposits with public                       X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                        Household Goods                                                 J                        1,670.00
      including audio, video, and
      computer equipment.                                     Lawn Mower                                                      J                           800.00

5.    Books, pictures and other art                       X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                        Wearing Apparel                                                 J                           500.00

7.    Furs and jewelry.                                       Jewelry                                                         J                            50.00

8.    Firearms and sports, photographic,                  X
      and other hobby equipment.

9.    Interests in insurance policies.                    X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                      X
    issuer.




                                                                                                                              Sub-Total >            3,090.00
                                                                                                                  (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re         Gregory John Stout,                                                                              Case No.
                Donna Norman Stout
                                                                                                     ,
                                                                                    Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                          N                                                             Husband,        Current Value of
                Type of Property                          O              Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                              Joint, or   without Deducting any
                                                          E                                                            Community Secured Claim or Exemption

11. Interests in an education IRA as                      X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                        Rock-Tenn Company 401(k)                                      H                        1,830.72
    other pension or profit sharing                           Balance as of 6/30/2014
    plans. Give particulars.                                  Acct#SS#

13. Stock and interests in incorporated                   X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                    X
    ventures. Itemize.

15. Government and corporate bonds                        X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  X

17. Alimony, maintenance, support, and                    X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                   X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                          X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                     X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                            Sub-Total >            1,830.72
                                                                                                                (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re         Gregory John Stout,                                                                               Case No.
                Donna Norman Stout
                                                                                                      ,
                                                                                     Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                            (Continuation Sheet)

                                                          N                                                              Husband,        Current Value of
                Type of Property                          O               Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                               Joint, or   without Deducting any
                                                          E                                                             Community Secured Claim or Exemption

22. Patents, copyrights, and other                        X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                       X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                  X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                        2006 Chevrolet Malibu                                          J                        7,380.00
    other vehicles and accessories.                           VIN: 1G1ZT63856F140787
                                                              Nationwide Insurance Policy# 6132K840371
                                                              Current Mileage: 82,887
                                                              90% Clean Retail

                                                              1995 Nissan KingCab Truck                                      H                        3,667.00
                                                              VIN: 1N6SD1656SC305738
                                                              Current Mileage: 146,602
                                                              Not Currently Running or Insured

26. Boats, motors, and accessories.                       X

27. Aircraft and accessories.                             X

28. Office equipment, furnishings, and                    X
    supplies.

29. Machinery, fixtures, equipment, and                   X
    supplies used in business.

30. Inventory.                                            X

31. Animals.                                              X

32. Crops - growing or harvested. Give                    X
    particulars.

33. Farming equipment and                                 X
    implements.

34. Farm supplies, chemicals, and feed.                   X



                                                                                                                             Sub-Total >          11,047.00
                                                                                                                 (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re         Gregory John Stout,                                                                                Case No.
                Donna Norman Stout
                                                                                                       ,
                                                                                      Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

35. Other personal property of any kind                       Possible Consumer Rights Claim(s).                               -                             0.00
    not already listed. Itemize.                              Subject to approval of settlement/award by
                                                              Bankruptcy Court.
                                                              Unless otherwise specified, no specific claims are
                                                              known at present.




                                                                                                                              Sub-Total >                  0.00
                                                                                                                  (Total of this page)
                                                                                                                                   Total >         15,967.72
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                          (Report also on Summary of Schedules)
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    oedocs


                                 UNITED STATES BANKRUPTCY COURT
                            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                     WINSTON-SALEM DIVISION

 In Re:
 Gregory John Stout                                                     Case No. _________________________
 Social Security No.: xxx-xx-0597
 Address: 5716 Rena Road, Hamptonville , NC 27020                                                               Form 91C (rev. 1/21/14)
                                                             Debtor.

                               DEBTOR'S CLAIM FOR PROPERTY EXEMPTIONS
The undersigned Debtor hereby claims the following property as exempt pursuant to 11 U.S.C. Sections 522(b)(3)(A),(B), and (C), the North
Carolina General Statues, and non-bankruptcy federal law. Undersigned Debtor is claiming and intends to claim as exempt 100% of Debtor’s
interest in each and every item listed, irrespective of the actual value claimed as exempt.

1. RESIDENCE EXEM PTION: REAL OR PERSONAL PROPERTY USED AS A RESIDENCE OR BURIAL PLOT.
   Each debtor can retain an aggregate interest in such property, not to exceed a total net value of $35,000. (N.C.G.S. § 1C-1601(a)(1) (NC
   Const. Article X, Section 2)(See * below)


        Description of                       Market                Mortgage Holder or                Amount of                      Net
      Property & Address                     Value                    Lien Holder                  Mortgage or Lien                 Value

 House and Land:                             $111,353.00     Bank of America                                $76,547.86              $17,296.07
 5716 Rena Road                                              BB&T                                           $17,509.07           1/2 Interest
 Hamptonville, NC 27020



                                                                                               TOTAL NET VALUE:                       $8,648.04

                                                                                 VALUE CLAIM ED AS EXEM PT:                         $30,000.00

                                                                           UNUSED AM OUNT OF EXEM PTION:                              $5,000.00

    RESIDENCE EXEM PTION: REAL OR PERSONAL PROPERTY USED AS A RESIDENCE OR BURIAL PLOT.
     Exception to $18,500 limit: An unmarried debtor who is 65 years of age or older is entitled to retain an aggregate interest in property not
    to exceed $60,000 in net value, so long as: (1) the property was previously owned by the debtor as a tenant by the entireties or as a joint
    tenant with rights of survivorship and (2) the former co-owner of the property is deceased, in which case the debtor must specify his/her age
    and the name of the former co-owner (if a child use initials only) of the property below. (N.C.G.S. § 1C-1601(a)(1) (NC Const. Article X,
    Section 2)(See * below)


        Description of                       Market                Mortgage Holder or                Amount of                      Net
      Property & Address                     Value                    Lien Holder                  Mortgage or Lien                 Value


                                             minus 6%



      Debtor's Age:                                                                            TOTAL NET VALUE:

      Name of former co-owner:                                                   VALUE CLAIM ED AS EXEM PT:

                                                                           UNUSED AM OUNT OF EXEM PTION:
                                 Case 14-51148            Doc 1      Filed 10/17/14         Page 20 of 80

* Note to all interested parties: Notwithstanding the above, in the event that: (1) this concerns a Chapter 13 case filed within 12 months after the
dismissal of a prior bankruptcy case, and (2) a creditor has, prior to the filing of this case, taken an "action" as that term is defined in In re:
Paschal, 337 B.R. 27 (2006), the debtor(s) do not claim the property as exempt, in which case the above information is provided for the sole
purpose of determining compliance as required by 11 U.S.C. 1325(a)(4).

2. TENANCY BY THE ENTIRETY: All the net value in the following property is claimed as exempt pursuant to 11 U.S.C. § 522(b)(3)(B)
   and the law of the State of North Carolina pertaining to property held as tenants by the entirety. (No limit on amount or number of
   items.)(See * above which shall also apply with respect to this exemption.)


                                                       Description of Property & Address

 1.                  House and Land: 5716 Rena Road, Hamptonville, NC 27020

 2.


3. M OTOR VEHICLE EXEM PTION: Each debtor can claim an exemption in only one vehicle, not to exceed $3,500.00 in net value.
   (N.C.G.S. § 1C-1601(a)(3))


      Year, Make, Model, Style
          of Motor Vehicle             Market Value                     Lien Holder                   Amount of Lien               Net Value

 1995 Nissan King Cab                         $3,667.00     None                                                    $0.00              $3,667.00


                                                                                                 TOTAL NET VALUE:                      $3,667.00

                                                                                    VALUE CLAIM ED AS EXEM PT:                         $3,500.00

4. TOOLS OF TRADE, IM PLEM ENTS, OR PROFESSIONAL BOO K S: (Each debtor can retain an aggregate interest, not to exceed
   $2,000.00 in net value.) (N.C.G.S. § 1C-1601(a)(5))


            Description                Market Value                   Lien Holder                    Amount of Lien               Net Value




                                                                                                 TOTAL NET VALUE:

                                                                                    VALUE CLAIM ED AS EXEM PT:


5. PERSONAL PROPERTY USED FOR HOUSEHOLD OR PERSONAL PURPOSES: Each debtor can retain a total aggregate interest,
   not to exceed $5,000.00 in net value, plus $1000.00 in net value for each dependent of the debtor (not to exceed $4,000 total for dependents.)
   (N.C.G.S. § 1C-1601(a)(4) & NC Const., Article X, Section 1)

      The number of dependents for exemption purposes is:______________


      Description of Property          Market Value                   Lien Holder                    Amount of Lien                Net Value

 Clothing & Personal                                                                                                                     $500.00

 Kitchen Appliances                                                                                                                         $0.00

 Stove                                                                                                                                      $0.00

 Refrigerator                                                                                                                            $200.00

 Freezer                                                                                                                                  $50.00

 W ashing Machine                                                                                                                         $50.00

 Dryer                                                                                                                                    $75.00
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 China                                                                                                                         $50.00

 Silver                                                                                                                          $0.00

 Jewelry                                                                                                                       $50.00

 Living Room Furniture                                                                                                        $100.00

 Den Furniture                                                                                                                 $75.00

 Bedroom Furniture                                                                                                            $200.00

 Dining Room Furniture                                                                                                         $50.00

 Lawn Furniture                                                                                                                  $0.00

 Television                                                                                                                    $75.00

 ( ) Stereo ( ) Radio                                                                                                          $25.00

 ( ) VCR ( ) Video Camera                                                                                                      $20.00

 Musical Instruments                                                                                                             $0.00

 ( ) Piano ( ) Organ                                                                                                          $200.00

 Air Conditioner                                                                                                                 $0.00

 Paintings or Art                                                                                                                $0.00

 Lawn Mower                                                                                                                   $800.00

 Yard Tools                                                                                                                   $150.00

 Crops                                                                                                                           $0.00

 Recreational Equipment                                                                                                          $0.00

 Computer Equipment                                                                                                           $200.00

 Pets                                                                                                                         $150.00


                                                                                       TOTAL NET VALUE:                     $3,020.00

                                                                           VALUE CLAIM ED AS EXEM PT:                       $5,000.00


6.   LIFE INSURANCE: There is no limit on amount or number of policies. (N.C.G.S. § 1C-1601(a)(6) & NC Const., Article X, Sect. 5)


                                                                             Last 4 Digits                   Beneficiary
          Description & Company                     Insured
                                                                           of Policy Number          (If child, use initials only)




7.   PROFESSIONALLY PRESCRIBED HEALTH AIDS: Debtor or Debtor's Dependents. (No limit on value.) (N.C.G.S. § 1C-1601(a)(7))


 Description




8.   COM PENSATION FOR PERSONAL INJURY, INCLUDING COM PENSATION FROM PRIVATE DISABILITY POLICIES
     OR ANNUITIES, OR COM PENSATION FOR THE DEATH OF A PERSON UPON W HOM THE DEBTOR W AS DEPENDENT
     FOR SUPPORT. There is no limit on this exemption. All such amounts are claimed as exempt. (The compensation is not exempt from
     related legal, health or funeral expenses.) (N.C.G.S. § 1C-1601(a)(8))
                                Case 14-51148           Doc 1       Filed 10/17/14         Page 22 of 80
                                                                                                                     Last 4 Digits of
              Description                                  Source of Compensation
                                                                                                                   Any Account Number




     The Debtor claims an exemption in any possible consumer rights claim only to the extent that the settlement/award is found by the
     Bankruptcy Court, upon the filing of a Motion for Approval of Settlement/Award and for Allowance of Exemptions and an Amendment to
     this Schedule C, to be in the nature of a personal injury claim, if allowed as exempt under applicable law, or to the extent that it is found
     to be other than a personal injury claim only to the extent of the dollar amount available to the Debtor under another exemption, such as
     the wildcard exemption, under applicable exemptions law. The time within which the trustee may object to the claiming of any exemption
     in this asset, shall be deemed tolled until such time as the Motion and Amendment are filed and served upon the trustee.

9.   INDIVIDUAL RETIREM ENT PLANS AS DEFINED IN THE INTERNAL REVENUE CODE AND ANY PLAN TREATED IN
     THE SAM E M ANNER AS AN INDIVIDUAL RETIREM ENT PLAN UNDER THE INTERNAL REVENUE CODE. (N.C.G.S. §
     1C-1601(a)(9)) (No limit on number or amount.). Debtor claims an exemption in all such plans, plus all other RETIREM ENT FUNDS
     as defined in 11 U.S.C. Section 522(b)(3)(c).

10. COLLEGE SAVINGS PLANS QUALIFIED UNDER SECTION 529 OF THE INTERNAL REVENUE CODE. Total net value not
    to exceed $25,000. If funds were placed in a college savings plan within the 12 months prior to filing, such contributions must have been
    made in the ordinary course of the debtor's financial affairs and must have been consistent with the debtor's past pattern of contributions.
    The exemption applies to funds for a child of the debtor that will actually be used for the child's college or university expenses. (N.C.G.S.
    § 1C-1601(a)(10))


                  College Savings                           Last 4 Digits of                      Initials of
                                                                                                                                   Value
                        Plan                                Account Number                     Child Beneficiary




                                                                                  VALUE CLAIM ED AS EXEM PT:


11. RETIREM ENT BENEFITS UNDER THE RETIREM ENT PLANS OF OTHER STATES AND GO VERNM ENT UNITS OF
    O TH ER STATES. (The debtor's interest is exempt only to the extent that these benefits are exempt under the law of the State or
    governmental unit under which the benefit plan is established.) (N.C.G.S. § 1C-1601(a)(11))


                                                                                          Last 4 Digits of Identifying
          Name of Retirement Plan                   State or Governmental Unit                                                     Value
                                                                                                   Number




                                                                                  VALUE CLAIM ED AS EXEM PT:


12. ALIM ONY, SUPPORT, SEPARATE M AINTENANCE, AND CHILD SUPPORT PAYM ENTS OR FUNDS THAT HAVE BEEN
    RECEIVED OR TO W HICH THE DEBTOR IS ENTITLED (The debtor's interest is exempt to the extent the payments or funds are
    reasonably necessary for the support of the debtor or any dependent of the debtor.) (N.C.G.S. § 1C-1601(a)(12))


                    Type of Support                                              Location of Funds                                Amount




                                                                                  VALUE CLAIM ED AS EXEM PT:


13. W ILDCARD EXEM PTION: Each debtor can retain a total aggregate interest in any other property, not to exceed a net value of $5,000.00,
    or the unused portion of the debtor's residence exemption , whichever is less. (N.C.G.S. § 1C-1601(a)(2))
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         Description of the Property                 Market Value                   Lien Holder          Amount of Lien     Net Value

 Any property owned by the debtor(s), not                                                                                      $4,768.00
 otherwise claimed as exempt.

     Cash                                                     $15.00                                                              $15.00

 W ells Fargo                                                 $50.00                                                              $50.00
 Checking and Savings

 Capital Bank                                                  $0.00                                                               $0.00
 Checking Account
 1/2 Interest

 1995 Nissan King Cab                                        $167.00     None                                       $0.00        $167.00
 Residual Value


                                                                                                    TOTAL NET VALUE:           $5,000.00

                                                                                       VALUE CLAIM ED AS EXEM PT:              $5,000.00


14. OTHER EXEM PTIONS CLAIM ED UNDER THE LAW S OF THE STATE OF NORTH CAROLINA:


                                                                                                                             Amount

 Aid to the Aged, Disabled and Families with Dependent Children N.C.G.S. § 108A-36

 Aid to the Blind N.C.G.S. § 111-18

 Yearly Allowance of Surviving Spouse N.C.G.S. § 30-15

 North Carolina Local Government Employees Retirement Benefits N.C.G.S. § 128-31

 North Carolina Teachers and State Employee Retirement Benefits N.C.G.S. § 135-9

 Fireman's and Rescue Workers' Pensions N.C.G.S. § 58-86-90

 Workers Compensation Benefits N.C.G.S. § 97-21

 Unemployment benefits, so long as not commingled and except for debts for necessities purchased while unemployed
 N.C.G.S. § 96-17

 Group Insurance Proceeds N.C.G.S. § 58-58-165

 Partnership Property, except on a claim against the partnership N.C.G.S. § 59-55

 Wages of Debtor necessary for the support of family N.C.G.S. § 1-362


                                                                                       VALUE CLAIM ED AS EXEM PT:


15. EXEM PTIONS CLAIM ED UNDER NON-BANKRUPTCY FEDERAL LAW :


                                                                                                                             Amount

 Foreign Service Retirement and Disability Payments 22 U.S.C. § 4060

 Social Security Benefits 42 U.S.C. § 407

 Injury or death compensation payments from war risk hazards 42 U.S.C. § 1717

 W ages of Fishermen, Seamen and Apprentices, 46 U.S.C. § 11108 &11109

 Civil Service Retirement Benefits 5 U.S.C. § 8346
                               Case 14-51148            Doc 1       Filed 10/17/14        Page 24 of 80
 Longshoremen and Harbor W orkers Compensation Act death and disability benefits 33 U.S.C. § 916

 Railroad Retirement Act annuities and pensions 45 U.S.C. § 231m

 Veteran benefits 38 U.S.C. § 5301

 Special pension paid to winners of Congressional Medal of Honor 38 U.S.C. § 1562


                                                                                     VALUE CLAIMED AS EXEMPT:


                                     UNSW ORN DECLARATION UNDER PENALTY OF PERJURY

I, the undersigned Debtor, declares under penalty of perjury that I have read the foregoing document, consisting of 14 paragraphs on consecutive
pages, and that they are true and correct to the best of my knowledge, information and belief.


Dated: October 17, 2014


                                                                             s/ Gregory John Stout
                                                                            Gregory John Stout
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                                 UNITED STATES BANKRUPTCY COURT
                            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                     WINSTON-SALEM DIVISION

 In Re:
 Donna Norman Stout                                                     Case No. _________________________
 Social Security No.: xxx-xx-0704
 Address: 5716 Rena Road, Hamptonville , NC 27020
                                                                                                              Form 91C (rev. 1/21/14)

                                                             Debtor.


                               DEBTOR'S CLAIM FOR PROPERTY EXEMPTIONS
The undersigned Debtor hereby claims the following property as exempt pursuant to 11 U.S.C. Sections 522(b)(3)(A),(B), and (C), the
North Carolina General Statues, and non-bankruptcy federal law. Undersigned Debtor is claiming and intends to claim as exempt 100% of
Debtor’s interest in each and every item listed, irrespective of the actual value claimed as exempt.

1. RESIDENCE EXEM PTION: REAL OR PERSONAL PROPERTY USED AS A RESIDENCE OR BURIAL PLOT.
   Each debtor can retain an aggregate interest in such property, not to exceed a total net value of $35,000. (N.C.G.S. § 1C-1601(a)(1)
   (NC Const. Article X, Section 2)(See * below)


        Description of                       Market                Mortgage Holder or              Amount of                      Net
      Property & Address                     Value                    Lien Holder                Mortgage or Lien                 Value

 House and Land:                             $111,353.00     Bank of America                             $76,547.86               $17,296.07
 5716 Rena Road                                              BB&T                                        $17,509.07            1/2 Interest
 Hamptonville, NC 27020



                                                                                            TOTAL NET VALUE:                        $8,648.04

                                                                                VALUE CLAIM ED AS EXEM PT:                        $30,000.00

                                                                           UNUSED AM OUNT OF EXEM PTION:                            $5,000.00

   RESIDENCE EXEM PTION: REAL OR PERSONAL PROPERTY USED AS A RESIDENCE OR BURIAL PLOT.
    Exception to $18,500 limit: An unmarried debtor who is 65 years of age or older is entitled to retain an aggregate interest in property
   not to exceed $60,000 in net value, so long as: (1) the property was previously owned by the debtor as a tenant by the entireties or as a
   joint tenant with rights of survivorship and (2) the former co-owner of the property is deceased, in which case the debtor must specify
   his/her age and the name of the former co-owner (if a child use initials only) of the property below. (N.C.G.S. § 1C-1601(a)(1) (NC
   Const. Article X, Section 2)(See * below)


        Description of                       Market                Mortgage Holder or              Amount of                      Net
      Property & Address                     Value                    Lien Holder                Mortgage or Lien                 Value


                                             minus 6%



      Debtor's Age:                                                                         TOTAL NET VALUE:

      Name of former co-owner:                                                  VALUE CLAIM ED AS EXEM PT:

                                                                           UNUSED AM OUNT OF EXEM PTION:
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* Note to all interested parties: Notwithstanding the above, in the event that: (1) this concerns a Chapter 13 case filed within 12 months after
the dismissal of a prior bankruptcy case, and (2) a creditor has, prior to the filing of this case, taken an "action" as that term is defined in In
re: Paschal, 337 B.R. 27 (2006), the debtor(s) do not claim the property as exempt, in which case the above information is provided for the
sole purpose of determining compliance as required by 11 U.S.C. 1325(a)(4).


2. TENANCY BY THE ENTIRETY: All the net value in the following property is claimed as exempt pursuant to 11 U.S.C. §
   522(b)(3)(B) and the law of the State of North Carolina pertaining to property held as tenants by the entirety. (No limit on amount or
   number of items.)(See * above which shall also applies with respect to this exemption.)


                                                       Description of Property & Address

 1.         House and Land: 5716 Rena Road, Hamptonville, NC 27020

 2.


3. M OTOR VEHICLE EXEM PTION: Each debtor can claim an exemption in only one vehicle, not to exceed $3,500.00 in net value.
   (N.C.G.S. § 1C-1601(a)(3))


      Year, Make, Model, Style
          of Motor Vehicle             Market Value                    Lien Holder                    Amount of Lien              Net Value

     2006 Chevrolet Malibu                    $7,380.00     Car Care Auto Sales                                $8,000.00                   $0.00
 1/2 Interest


                                                                                                TOTAL NET VALUE:                           $0.00

                                                                                    VALUE CLAIM ED AS EXEM PT:                         $3,500.00

4. TOOLS OF TRADE, IM PLEM ENTS, OR PROFESSIONAL BOOKS: (Each debtor can retain an aggregate interest, not to exceed
   $2,000.00 in net value.) (N.C.G.S. § 1C-1601(a)(5))


            Description                Market Value                   Lien Holder                    Amount of Lien               Net Value




                                                                                                TOTAL NET VALUE:

                                                                                    VALUE CLAIM ED AS EXEM PT:


5. PERSONAL PROPERTY USED FOR HOUSEHOLD OR PERSONAL PURPOSES: Each debtor can retain a total aggregate
   interest, not to exceed $5,000.00 in net value, plus $1000.00 in net value for each dependent of the debtor (not to exceed $4,000 total for
   dependents.) (N.C.G.S. § 1C-1601(a)(4) & NC Const., Article X, Section 1)

      The number of dependents for exemption purposes is:______________


      Description of Property          Market Value                   Lien Holder                    Amount of Lien               Net Value

 Clothing & Personal                                                                                                                     $500.00

 Kitchen Appliances                                                                                                                        $0.00

 Stove                                                                                                                                     $0.00

 Refrigerator                                                                                                                            $200.00

 Freezer                                                                                                                                  $50.00
                             Case 14-51148         Doc 1      Filed 10/17/14       Page 27 of 80
 W ashing Machine                                                                                                              $50.00

 Dryer                                                                                                                         $75.00

 China                                                                                                                         $50.00

 Silver                                                                                                                          $0.00

 Jewelry                                                                                                                       $50.00

 Living Room Furniture                                                                                                        $100.00

 Den Furniture                                                                                                                 $75.00

 Bedroom Furniture                                                                                                            $200.00

 Dining Room Furniture                                                                                                         $50.00

 Lawn Furniture                                                                                                                  $0.00

 Television                                                                                                                    $75.00

 ( ) Stereo ( ) Radio                                                                                                          $25.00

 ( ) VCR ( ) Video Camera                                                                                                      $20.00

 Musical Instruments                                                                                                             $0.00

 ( ) Piano ( ) Organ                                                                                                        $2,000.00

 Air Conditioner                                                                                                                 $0.00

 Paintings or Art                                                                                                                $0.00

 Lawn Mower                                                                                                                      $0.00

 Yard Tools                                                                                                                   $800.00

 Crops                                                                                                                        $150.00

 Recreational Equipment                                                                                                          $0.00

 Computer Equipment                                                                                                           $200.00

 Pets                                                                                                                         $150.00


                                                                                       TOTAL NET VALUE:                     $3,020.00

                                                                           VALUE CLAIM ED AS EXEM PT:                       $5,000.00


6.   LIFE INSURANCE: There is no limit on amount or number of policies. (N.C.G.S. § 1C-1601(a)(6) & NC Const., Article X, Sect. 5)


                                                                             Last 4 Digits                   Beneficiary
          Description & Company                     Insured
                                                                           of Policy Number          (If child, use initials only)




7.   PROFESSIONALLY PRESCRIBED HEALTH AIDS: Debtor or Debtor's Dependents. (No limit on value.) (N.C.G.S. § 1C-
     1601(a)(7))


 Description
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8.   COM PENSATION FOR PERSONAL INJURY, INCLUDING COM PENSATION FROM PRIVATE DISABILITY POLICIES
     OR ANNUITIES, OR COM PENSATION FOR THE DEATH OF A PERSON UPON W HOM THE DEBTOR W AS
     DEPENDENT FOR SUPPORT. There is no limit on this exemption. All such amounts are claimed as exempt. (The compensation is
     not exempt from related legal, health or funeral expenses.) (N.C.G.S. § 1C-1601(a)(8))


                                                                                                                   Last 4 Digits of
              Description                                 Source of Compensation
                                                                                                                 Any Account Number




     The Debtor claims an exemption in any possible consumer rights claim only to the extent that the settlement/award is found by the
     Bankruptcy Court, upon the filing of a Motion for Approval of Settlement/Award and for Allowance of Exemptions and an Amendment
     to this Schedule C, to be in the nature of a personal injury claim, if allowed as exempt under applicable law, or to the extent that it is
     found to be other than a personal injury claim only to the extent of the dollar amount available to the Debtor under another exemption,
     such as the wildcard exemption, under applicable exemptions law. The time within which the trustee may object to the claiming of any
     exemption in this asset, shall be deemed tolled until such time as the Motion and Amendment are filed and served upon the trustee.

9.   INDIVIDUAL RETIREM ENT PLANS AS DEFINED IN THE INTERNAL REVENUE CODE AND ANY PLAN TREATED
     IN THE SAM E M ANNER AS AN INDIVIDUAL RETIREM ENT PLAN UNDER THE INTERNAL REVENUE CODE.
     (N.C.G.S. § 1C-1601(a)(9)) (No limit on number or amount.). Debtor claims an exemption in all such plans, plus all other
     RETIREM ENT FUNDS as defined in 11 U.S.C. Section 522(b)(3)(c).

10. COLLEGE SAVINGS PLANS QUALIFIED UNDER SECTION 529 OF THE INTERNAL REVENUE CODE. Total net value
    not to exceed $25,000. If funds were placed in a college savings plan within the 12 months prior to filing, such contributions must have
    been made in the ordinary course of the debtor's financial affairs and must have been consistent with the debtor's past pattern of
    contributions. The exemption applies to funds for a child of the debtor that will actually be used for the child's college or university
    expenses. (N.C.G.S. § 1C-1601(a)(10))


                  College Savings                          Last 4 Digits of                     Initials of
                                                                                                                                 Value
                        Plan                               Account Number                    Child Beneficiary




                                                                                 VALUE CLAIM ED AS EXEM PT:


11. RETIREM ENT BENEFITS UNDER THE RETIREM ENT PLANS OF OTHER STATES AND GOVERNM ENT UNITS OF
    OTHER STATES. (The debtor's interest is exempt only to the extent that these benefits are exempt under the law of the State or
    governmental unit under which the benefit plan is established.) (N.C.G.S. § 1C-1601(a)(11))


                                                                                        Last 4 Digits of Identifying
          Name of Retirement Plan                  State or Governmental Unit                                                    Value
                                                                                                 Number




                                                                                 VALUE CLAIM ED AS EXEM PT:


12. ALIM ONY, SUPPORT, SEPARATE M AINTENANCE, AND CHILD SUPPORT PAYM ENTS OR FUNDS THAT HAVE
    BEEN RECEIVED OR TO W HICH THE DEBTOR IS ENTITLED (The debtor's interest is exempt to the extent the payments or
    funds are reasonably necessary for the support of the debtor or any dependent of the debtor.) (N.C.G.S. § 1C-1601(a)(12))


                    Type of Support                                             Location of Funds                               Amount
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                                                                                       VALUE CLAIM ED AS EXEM PT:


13. W ILDCARD EXEM PTION: Each debtor can retain a total aggregate interest in any other property, not to exceed a net value of
    $5,000.00, or the unused portion of the debtor's residence exemption , whichever is less. (N.C.G.S. § 1C-1601(a)(2))


         Description of the Property                Market Value                    Lien Holder          Amount of Lien   Net Value

 Any property owned by the debtor(s), not                                                                                    $4,995.00
 otherwise claimed as exempt.

    W ells Fargo                                               $5.00                                                             $5.00
 Checking and Savings

 Capital Bank                                                  $0.00                                                             $0.00
 Checking Account
 1/2 Interest


                                                                                                    TOTAL NET VALUE:         $5,000.00

                                                                                       VALUE CLAIM ED AS EXEM PT:            $5,000.00


14. OTHER EXEM PTIONS CLAIM ED UNDER THE LAW S OF THE STATE OF NORTH CAROLINA:


                                                                                                                           Amount

 Aid to the Aged, Disabled and Families with Dependent Children N.C.G.S. § 108A-36

 Aid to the Blind N.C.G.S. § 111-18

 Yearly Allowance of Surviving Spouse N.C.G.S. § 30-15

 North Carolina Local Government Employees Retirement Benefits N.C.G.S. § 128-31

 North Carolina Teachers and State Employee Retirement Benefits N.C.G.S. § 135-9

 Fireman's and Rescue Workers' Pensions N.C.G.S. § 58-86-90

 Workers Compensation Benefits N.C.G.S. § 97-21

 Unemployment benefits, so long as not commingled and except for debts for necessities purchased while unemployed
 N.C.G.S. § 96-17

 Group Insurance Proceeds N.C.G.S. § 58-58-165

 Partnership Property, except on a claim against the partnership N.C.G.S. § 59-55

 Wages of Debtor necessary for the support of family N.C.G.S. § 1-362


                                                                                       VALUE CLAIM ED AS EXEM PT:


15. EXEM PTIONS CLAIM ED UNDER NON-BANKRUPTCY FEDERAL LAW :


                                                                                                                           Amount

 Foreign Service Retirement and Disability Payments 22 U.S.C. § 4060

 Social Security Benefits 42 U.S.C. § 407

 Injury or death compensation payments from war risk hazards 42 U.S.C. § 1717

 W ages of Fishermen, Seamen and Apprentices, 46 U.S.C. § 11108 &11109
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 Civil Service Retirement Benefits 5 U.S.C. § 8346

 Longshoremen and Harbor W orkers Compensation Act death and disability benefits 33 U.S.C. § 916

 Railroad Retirement Act annuities and pensions 45 U.S.C. § 231m

 Veteran benefits 38 U.S.C. § 5301

 Special pension paid to winners of Congressional Medal of Honor 38 U.S.C. § 1562


                                                                                     VALUE CLAIMED AS EXEMPT:


                                     UNSW ORN DECLARATION UNDER PENALTY OF PERJURY

I, the undersigned Debtor, declares under penalty of perjury that I have read the foregoing document, consisting of 14 paragraphs on consecutive
pages, and that they are true and correct to the best of my knowledge, information and belief.


Dated: October 17, 2014


                                                                             s/ Donna Norman Stout
                                                                            Donna Norman Stout
                               Case 14-51148             Doc 1       Filed 10/17/14         Page 31 of 80
                                           UNITED STATES BANKRUPTCY COURT
                                      FOR THE M IDDLE DISTRICT OF NORTH CAROLINA
                                                W INSTON-SALEM DIVISION


 In Re:
 Gregory John Stout and Donna Norman Stout                                        PROPOSED CHAPTER 13 PLAN

 Social Security Nos.: xxx-xx-0597 & xxx-xx-0704                      Case No. __________________________
                                                                      Chapter 13
 Address: 5716 Rena Road, Hamptonville , NC 27020

                                                         Debtors.

The Debtors propose an initial plan, which is subject to modification, as follows:

This document and the attached CH. 13 PLAN - DEBTS SHEET (M IDDLE) shall, together, constitute the proposed plan; and all
references herein are to corresponding sections of said attached document. The terms and conditions of this proposed plan shall control
and apply except to the extent that they contradict the terms and conditions of the order confirming the Chapter 13 plan entered by this
Court in this case:

1.   Payments to the Trustee: The Debtors propose to pay to the Trustee from future earnings consecutively monthly payments, for
     distribution to creditors after payment of costs of administration. See "PROPOSED PLAN PAYM ENT" section for amount of
     monthly payment and the duration. Actual duration will be determined in accordance with the provisions set forth in the Paragraph
     2 below.
2.   Duration of Chapter 13 Plan: at the earlier of, the expiration of the Applicable Commitment Period or the payment to the Trustee
     of a sum sufficient to pay in full: (A) Allowed administrative priority claims, including specifically the Trustee's commissions and
     attorneys' fees and expenses ordered by the Court to be paid to the Debtors' Attorney, (B) Allowed secured claims (including but not
     limited to arrearage claims), excepting those which are scheduled to be paid directly by the Debtors "outside" the plan, (C) Allowed
     unsecured priority claims, (D) Cosign protect consumer debt claims (only where the Debtors propose such treatment), (E) Post-petition
     claims allowed under 11 U.S.C. § 1305, (F) The dividend, if any, required to be paid to non-priority, general unsecured creditors (not
     including priority unsecured creditors) pursuant to 11 U.S.C. § 1325(b)(1)(B), and (G) Any extra amount necessary to satisfy the
     "liquidation test" as set forth in 11 U.S.C. § 1325(a)(4).
3.   Payments made directly to creditors: The Debtors propose to make regular monthly payments directly to the following creditors:
      See "RETAIN COLLATERAL & PAY DIRECT OUTSIDE PLAN" section. It shall not be considered a violation of the automatic
     stay if, after the bankruptcy filing, a secured creditor sends to the Debtors payment coupon books or monthly payment invoices with
     respect to debts set forth in this section of the plan.
4.   Disbursements by the Trustee: The Debtors propose that the Trustee make the following distributions to creditors holding allowed
     claims, after payment of costs of administration as follows: See "INSIDE PLAN" section. More specifically:
     a. The following secured creditors shall receive their regular monthly contract payment: See "LTD - Retain / DOT on Principal
          Res./Other Long Term Debts" section. At the end of the plan, the Debtors will resume making payments directly to the creditor
          on any such debt not paid in full during the life of the plan.
     b. The following secured creditors shall be paid in full on their arrearage claims over the life of the plan on a pro-rata basis with other
          secured claims (not including LTD claims): See "Arrearage Claims" section.
     c. The following creditors have partially secured and partially unsecured claims. The secured part of the claim shall be paid in full
          over the life of the plan on a pro-rata basis with other secured claims (not including LTD claims): See "STD - Retain/Secured
          Debts (Paid at FM V)" and "Secured Taxes" sections.
     d. The following secured creditors shall be paid in full over the life of the plan on a pro-rata basis with other secured claims (not
          including LTD claims): See "STD - Retain / Secured Debts & 910 Vehicles (Pay 100% )" section.
     e. The following priority claims shall be paid in full by means of deferred payment: See "Unsecured Priority Debts" section.
     f. The following co-signed claims shall be paid in full, plus interest at the contract rate, by means of deferred payments: See "Cosign
          Protect Debts (Pay 100% )" section.
     g. After payment of allowed costs of administration, priority and secured claims, the balance of the funds paid to the Trustee shall
          be paid to allowed, general unsecured, non-priority claims. See "General Unsecured Non-Priority Debts" section.
5.   Property to be surrendered: The Debtors propose to retain all property serving as collateral for secured claims, except for the
     following property, which shall be surrendered to the corresponding secured creditor(s): See "SURRENDER COLLATERAL"
     section. Unless an itemized Proof of Claim for any deficiency is filed within 120 days after confirmation of this plan, said creditor
     shall not receive any further disbursement from the trustee. Any personal property serving as collateral for a secured claim which is
     surrendered, either in the confirmation order or by other court order, which the lien holder does not take possession of within 240
     days of the entry of such order shall be deemed abandoned and said lien cancelled.
6.   Executory contracts: The Debtors propose to assume all executory contracts and leases, except those specifically rejected. See
                               Case 14-51148            Doc 1       Filed 10/17/14          Page 32 of 80
    "REJECTED EXECUTORY CONTRACTS / LEASES" section.
7.  Retention of Consumer Rights Causes of Action: Confirmation of this plan shall constitute a finding that the Debtors do not waive,
    release or discharge but rather retain and reserve for themselves and the Chapter 13 Trustee any and all pre-petition claims and any
    and all post-petition claims that they could or might assert against any party or entity arising under or otherwise related to any state
    or federal consumer statute or under state or federal common law including but not limited to fraud, misrepresentation, breach of
    contract, unfair and deceptive acts and practices, retail installment sales act violations, Truth in Lending violations, Home Equity
    Protection Act violations, Real Estate Settlement Protection Act violations, Fair Debt Collection Practices Act violations, Fair Credit
    Reporting Act violations, Equal Credit Opportunity Act violations, Fair Credit Billing Act violations, Consumer Leasing Act violations,
    Federal Garnishment Act violations, Electronic Funds Transfer Act violations, and any and all violations arising out of rights or claims
    provided for by Title 11 of the United States Code, by the Federal Rules of Bankruptcy Procedure, or by the Local Rules of this Court.
8. Standing for Consumer Rights Causes of Action: Confirmation of this plan shall vest in the Debtors full and complete standing
    to pursue any and all claims against any parties or entities for all rights and causes of action provided for under or arising out of Title
    11 of the United States Code including but not limited to the right to pursue claims for the recovery of property of this estate by way
    of turnover proceedings, the right to recover pre-petition preferences, the right to pursue automatic stay violations, and the right to
    pursue discharge violations.
9. Termination of Liens: Upon the full payment of a secured party's underlying debt determined under non-bankruptcy law or the
    granting of a discharge pursuant to 11 U.S.C. § 1328, the secured party shall within 10 days after demand and, in any event, within
    30 days, execute a release of its security interest on the property securing said claim. In the case of a motor vehicle, said secured
    creditor shall execute a release on the title thereto in the space provided therefore on the certificate or as the Division of Motor
    Vehicles prescribes, and mail or deliver the certificate and release to the Debtors or the Debtors' Attorney. Confirmation of this plan
    shall impose an affirmative and direct duty on each such secured party to comply with the provision and upon failure to so comply.
    This provision may be enforced in a proceeding filed before the Bankruptcy Court and each such creditor consents to such jurisdiction
    by failure to file any timely objection to this plan. Such an enforcement proceeding may be filed by the Debtors in this case either
    before or after the entry of the discharge order and either before or after the closing of this case. The Debtors specifically reserve
    the right to file a motion to reopen this case under 11 U.S.C. § 350 to pursue the rights and claims provided for herein.
10. Jurisdiction for Non-Core M atters: Confirmation of this plan shall constitute the expressed consent by any party in interest in this
    case, or any one or more of them, including all creditor or other parties duly listed in Schedules D, E, F, G, and H, or any amendments
    thereto, to the referral of a proceeding related to a case under Title 11 of the United States Code to a Bankruptcy Judge to hear and
    determine and to enter appropriate orders and judgments as provided for by 28 U.S.C. § 157(c)(2).
11. Obligations of M ortgagors: Confirmation of this plan shall impose an affirmative duty on the holders of all claims secured by
    mortgages or deeds of trust on real property of this estate to:
    a. Pursuant to 11 U.S.C. § 1326, adequate protection payments shall not be made on allowed secured claims secured by real property
         prior to confirmation. This provision shall not preclude such a claim-holder from requesting additional adequate protection
         pursuant to 11 U.S.C. § 362(d);
    b. Apply any payments received from the Trustee under the plan as the same is designated by the Trustee only to the pre-petition
         arrears provided for in the confirmed plan;
    c. Apply any payments received from the Trustee under the plan as the same is designated by the Trustee, that is to either pre-petition
         interest or pre-petition principal as the case may be;
    d. Apply all post-petition payments received from the Chapter 13 Trustee under the plan as the same is designated by the Trustee,
         to the post-petition mortgage obligations of the Debtors for the actual months for which such payments are designated;
    e. Apply all post-petition payments received directly from the Debtors to the post-petition mortgage obligations due;
    f. Refrain from the practice of imposing late charges when the only delinquency is attributable to the pre-petition arrears included
         in the plan;
    g. Refrain from the imposition of monthly inspection fees or any other type of bankruptcy monitoring fee without prior approval of
         the Bankruptcy Court after notice and hearing;
    h. Refrain from the imposition of any legal or paralegal fees or similar charges incurred following confirmation without prior
         approval of the Bankruptcy Court after notice and hearing;
    i. Pursuant to 12 U.S.C. § 2609, 15 U.S.C. § 1602, and all other applicable state, federal and contractual requirements, promptly
         notify the Debtors, the Debtors' Attorney and the Chapter 13 Trustee of any adjustment in the on-going payments for any reason,
         including, without limitation, changes resulting for Adjustable Rate Mortgages and/or escrow changes. The Debtors specifically
         agree that provision of such notice shall not constitute a violation of 11 U.S.C. § 362;
    j. Pursuant to 11 U.S.C. § 524 and all other applicable state and federal laws, verify, at the request of the Debtors, Debtors' Attorney
         or Chapter 13 Trustee, that the payments received under the confirmed plan were properly applied;
    k. Pursuant to N.C.G.S. § 45-91 and all other applicable state, federal and contractual requirements notify the Debtor, the Debtor's
         Attorney and the Chapter 13 Trustee with notice of the assessment of any fees, charges etc. The Debtors specifically agree that
         provision of such notice shall not constitute a violation of 11 U.S.C. § 362; and
    l. This provision of this plan may be enforced in a proceeding filed before the Bankruptcy Court and each such secured creditor
         consents to such jurisdiction by failure to file any timely objection to this plan. Such an enforcement proceeding may be filed by
         the Debtors in this case either before or after the entry of the discharge order and either before or after the closing of this case.
         The Debtors specifically reserve the right to file a motion to reopen this case under 11 U.S.C. § 350 to pursue the rights and
         claims herein.
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12. Arbitration: Acceptance by creditors of payments under this plan and/or failure of any creditor to file an objection to confirmation
    of the plan herein, constitutes waiver of any right(s) of said creditor(s) to seek enforcement of any arbitration agreement and constitutes
    consent to the removal of any arbitration clause from any type of contract or contracts with the Debtors herein during the pendency
    of this case.
13. Post-petition tax claims: The Debtors' plan shall provide for full payment of any post-petition tax claim filed by the Internal Revenue
    Service which are allowed pursuant to 11 U.S.C. § 1305 (b), unless the Internal Revenue Service, after a good faith consideration of
    the effect such a claim would have on the feasibility of the Debtors' Chapter 13 plan, specifically agrees to a different treatment of
    such claim. However, any future modification of the Debtors' plan to provide for full payment of any allowed post-petition tax claim
    shall only occur after the filing of a motion requesting a modification of the plan to that effect.
14. Offers in Compromise: The Internal Revenue Service shall, pursuant to I.R.C. §7122 (a) (2002) and 11 U.S.C. §§105 and 525 (a),
    and notwithstanding any provisions of the Internal Revenue Manual, consider any properly tendered Offer in Compromise by the
    Debtors. This provision shall not be construed to require the Internal Revenue Service to accept any such Offer in Compromise, but
    the Internal Revenue Service shall consider such Offer in Compromise as if the Debtors were not in an on-going bankruptcy. In the
    event that an Offer in Compromise is accepted by the Internal Revenue Service and any tax obligation is reduced, the Chapter 13
    Trustee shall review the Chapter 13 payment to determine if a reduction in the plan payment is feasible.
15. Adequate Protection Payments: The Debtors propose that all pre-confirmation adequate protection payments be paid as follows:
    a. Not later than 30 days after the date of the order for relief, the Debtors shall commence paying directly to the lessor all payments
         scheduled in a lease of personal property or portion thereof that become due after the said order for relief. Absent a timely
         objection to confirmation of the proposed plan, it shall be presumed that the Debtors have made such payments as required by
         11 U.S.C. § 1326(a)(1)(B) of the Bankruptcy Code.
    b. All pre-confirmation adequate protection payments required by 11 U.S.C. § 1326(a)(1)(c) payable to a creditor holding an
         allowed claim secured by personal property, to the extent that the claim is attributable to the purchase of such property by the
         Debtors shall be disbursed by the Chapter 13 Trustee.
    c. Each creditor entitled to receive a pre-confirmation adequate protection payment pursuant to 11 U.S.C. § 1326(a)(1)(c) shall be
         paid each month the amount set forth in the column entitled "Adequate Protection". These amounts shall equal 1.00% of the FMV
         of the property securing the corresponding creditor's claim or the monthly amount necessary to amortize the claim (computed at
         the Trustee's interest rate) over the life of the plan, whichever is less.
    d. The principal amount of the adequate protection recipient's claim shall be reduced by the amount of the adequate protection
         payments remitted to the recipient.
    e. All adequate protection payments disbursed by the Chapter 13 Trustee shall be subject to an administrative fee in favor of the
         Trustee equal to the Trustee's statutory percentage commission then in effect, and the Trustee shall collect such fee at the time
         of the distribution of the adequate protection payment to the creditor.
    f. All adequate protection payments disbursed by the Chapter 13 Trustee shall be made in the ordinary course of the Trustee's
         business from funds in this case as they become available for distribution.
    g. No adequate protection payment to a creditor who is listed in the plan as a secured creditor shall be required until a proof of claim
         is filed by such creditor which complies with Rule 3001 of the Federal Rules of Bankruptcy Procedure.
    h. The Trustee shall not be required to make pre-confirmation adequate protection payments on account of any claim in which the
         collateral for such claim is listed in the plan as having a value of less than $2,000.00.
    i. The names, addresses and account numbers for each secured creditor entitled to receive a pre-confirmation adequate protection
         payment as set forth on Schedule D filed in this case are incorporated herein, as if set forth herein at length.
    j. Adequate protection payments shall continue until all unpaid Debtors' Attorney's fees are paid in full.
16. Interest on Secured Claims:
    a. Arrearage: No interest shall accrue on any arrearage claim.
    b. Secured Debts Paid at FMV: The lesser of Trustee's interest rate (set pursuant to In re Till) and the contract interest rate.
    c. Secured Debts Paid in Full:
         i. Regarding "910 vehicle" claims: Pursuant to 11 U.S.C. §1322, interest only to the extent that the value , as of the effective
             date of the plan (hereinafter the “Time Value”), of the motor vehicle exceeds the amount of the claim. The Time Value shall
             be the total of the payments to amortize the FMV of the motor vehicle, defined as 90% of the N.A.D.A. Retail, at the Trustee’s
             interest rate over the total length of the Chapter 13 plan.
         ii. All other secured claims: The lesser of the Trustee’s interest rate and the contract interest rate.
17. Debtors' Attorney’s Fees: In the event that the Trustee has, at the time of Confirmation, funds in excess of any amounts necessary
    to make adequate protection payments to holders of allowed secured claims for personal property, specifically excluding payments
    for real property due between the filing of the petition and Confirmation, all such funds shall be paid towards unpaid Debtors'
    Attorney’s fees.
18. Non-Vesting: Property of the estate shall NOT re-vest in the Debtors upon confirmation of the Chapter 13 plan.
19. Real Estate Taxes Real estate taxes that are paid by the Debtors through an escrow account as part of any direct mortgage payment,
    or as part of a conduit payment made by the Trustee, shall continue to be paid by the Debtors through such escrow account and shall
    be disbursed by the servicer from such escrow account. They shall not be made separately by the Trustee.
20. Transfer of M ortgage Servicing: Pursuant to 12 U.S.C. § 2605(f), in the event that the mortgage servicing for any of the Debtors'
    mortgages is transferred during this case, notice of such transfer of service shall be provided to the Debtors, the Debtors' Attorney
    and the Chapter 13 Trustee within thirty (30) days. Such notice shall include the identity of the new servicer, the address and a
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     toll-free telephone number for the new servicer, instructions on whom to contact with authority regarding such servicing, and the
     location where the transfer of mortgage servicing is recorded.
21. 401K Loans: Upon payment in full of a 401K plan loan, the Debtors shall increase Debtors' 401K plan contributions by an amount
     equal to the amount that was being paid on said 401K loan.
22. Non-Disclosure of Personal Information: Pursuant to NCGS 75-66 and other state and federal laws, the Debtors object to the
     disclosure of any personal information by any party, including without limitations, all creditors listed in the schedules filed in this case.
23. Other provisions of plan (if any): See "OTHER PROVISIONS" section.
                                                                Definitions
LTD:          Long Term Debt and refers to both: (1) Debts which cannot be modified due to 11 U.S.C. § 1322(b)(2), and (2) Debts where
              modification in the plan will not result in a payment lower than the contract payment.
STD:          Short Term Debt and refers to debts where the months left on the contract are less than or equal to 60 months.
Retain:       Means the Debtors intend to retain possession and/or ownership of the collateral securing a debt.
910:          Means and refers to the purchase money security interest portion of a claim secured by a motor vehicle, where the motor
              vehicle was acquired within 910 days before the filing of the bankruptcy case for the personal use of the Debtors.
Sch D #:      References the number of the secured debt as listed on Schedule D.
Int. Rate: Means Interest Rate to be paid a secured claim.

Dated: October 17, 2014
                                                                               s/ Gregory John Stout
                                                                              Gregory John Stout


                                                                               s/ Donna Norman Stout
                                                                              Donna Norman Stout
(rev. 1/19/12)
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                CH. 13 PLAN - DEBTS SHEET                                                                  Date:       8/25/14
               (MIDDLE DISTRICT - DESARDI VERSION)                                                 Lastname-SS#:       Stout
              RETAIN COLLATERAL & PAY DIRECT OUTSIDE PLAN                                                     SURRENDER COLLATERAL

                     Creditor Name            Sch D #    Description of Collateral                  Creditor Name                     Description of Collateral
 Retain




           ARREARAGE CLAIMS                                                                        REJECTED EXECUTORY CONTRACTS/LEASES
                                                           Arrearage
                     Creditor Name            Sch D #                      (See †)                  Creditor Name                     Description of Collateral
                                                            Amount
                                                                              **
                                                                              **
                                                                              **
 Retain




                                                                              **
                                                                              **
             Bank of America                                $4,230            **
                                                                              **
                                                                              **
                                                                              **

           LTD - DOT ON PRINCIPAL RESIDENCE & OTHER LONG TERM DEBTS
                                                            Monthly                      Adequate              Minimum
                     Creditor Name            Sch D #                   Int. Rate                                                     Description of Collateral
                                                        Contract Amount                  Protection          Equal Payment
             Bank of America                                 $846         N/A                n/a                 $846.00            Home and Land
 Retain




                                                                             N/A             n/a
                                                                             N/A             n/a
                                                                             N/A             n/a

          STD - SECURED DEBTS @ FMV
                                                                                         Adequate              Minimum
                     Creditor Name            Sch D #        FMV          Int. Rate                                                   Description of Collateral
                                                                                         Protection          Equal Payment
             Springleaf                                      $800            5.25                               $16.55              Lawn Mower
 Retain




                                                                             5.25
                                                                             5.25
                                                                             5.25

          STD - SECURED DEBTS @ 100%
                                                            Payoff                       Adequate              Minimum
                     Creditor Name            Sch D #                     Int. Rate                                                   Description of Collateral
                                                            Amount                       Protection          Equal Payment
             Car Care Auto                                  $8,000           5.25            $74                 $165.54            06' Malibu
 Retain




             BB&T                                           $17,509          5.25           $175                 $362.30            House and Land
                                                                             5.25
                                                                             5.25
                                                                             5.25

 ATTORNEY FEE (Unpaid part)                                 Amount                   PROPOSED CHAPTER 13 PLAN PAYMENT
     Law Offices of John T. Orcutt, P.C.                    $3,700             $         1,257                per month for            1           months, then
 SECURED TAXES                                            Secured Amt
     IRS Tax Liens
     Real Property Taxes on Retained Realty
                                                                               $         1,572                per month for           59           months.


 UNSECURED PRIORITY DEBTS                                   Amount                                   Adequate Protection Payment Period
     IRS Taxes                                                                        Adequate Protection payments shall              months or until the attorney
     State Taxes                                                                            continue for approximately:       12      fee is paid.

     Personal Property Taxes                                                Codes:
     Alimony or Child Support Arrearage                                     Sch D # = The number of the secued debt as listed on Schedule D.
CO-SIGN PROTECT (Pay 100%)                    Int.%       Payoff Amt        Adequate Protection = Monthly 'Adequate Protection' payment amt.
 All Co-Sign Protect Debts (See*)                                           † = May include up to 3 post-petition payments.
GENERAL NON-PRIORITY UNSECURED                           Amount**           * Co-sign protect on all debts so designated on the filed schedules.

                   DMI=        None($0)                    None($0)         ** = Greater of DMI x ACP or EAE                            (Page 4 of 4)
                                                                              Ch13Plan_MD_(Install_Pay_NEWFilingFee) 4/18/14) © LOJTO
 Other Miscellaneous Provisions
Plan to allow for 3 "waivers".
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 B6D (Official Form 6D) (12/07)


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   In re         Gregory John Stout,                                                                                         Case No.
                 Donna Norman Stout
                                                                                                                ,
                                                                                                  Debtors
                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                             C   Husband, Wife, Joint, or Community                      C    U   D     AMOUNT OF
              CREDITOR'S NAME                                O                                                           O    N   I
                                                             D   H         DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                           T    I   P       WITHOUT            UNSECURED
            INCLUDING ZIP CODE,                              B   W            NATURE OF LIEN, AND                        I    Q   U                          PORTION, IF
                                                             T   J          DESCRIPTION AND VALUE                        N    U   T
                                                                                                                                         DEDUCTING
           AND ACCOUNT NUMBER                                O                                                           G    I   E       VALUE OF              ANY
             (See instructions above.)
                                                                 C                 OF PROPERTY
                                                             R
                                                                                 SUBJECT TO LIEN
                                                                                                                         E    D   D     COLLATERAL
                                                                                                                         N    A
                                                                                                                         T    T
Account No. 5947                                                     1st Deed of Trust                                        E
                                                                                                                              D
Creditor #: 1
Bank of America Home Loans**                                       House and Land:
Attn: Managing Agent                                               5716 Rena Road
Post Office Box 5170                                               Hamptonville NC 27020
                                                                 J Tax Value
Simi Valley, CA 93062-5170

                                                                        Value $                         111,353.00                         76,547.86                       0.00
Account No.

Fannie Mae                                                              Representing:
3900 Wisconsin Ave, NW                                                  Bank of America Home Loans**                                     Notice Only
Washington, DC 20016-2892


                                                                        Value $
Account No. 9004                                                     2nd Deed of Trust
Creditor #: 2
BB&T Mortgage***                                                   House and Land:
Attn: Managing Agent                                               5716 Rena Road
Post Office Box 2027                                               Hamptonville NC 27020
                                                                 J Tax Value
Greenville, SC 29602

                                                                        Value $                         111,353.00                         17,509.07                       0.00
Account No.

Rogers Townsend & Thomas, PC **                                         Representing:
2550 West Tyvola Road                                                   BB&T Mortgage***                                                 Notice Only
Suite 520
Charlotte, NC 28217

                                                                        Value $
                                                                                                                      Subtotal
 1
_____ continuation sheets attached                                                                                                         94,056.93                       0.00
                                                                                                             (Total of this page)




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 B6D (Official Form 6D) (12/07) - Cont.




   In re         Gregory John Stout,                                                                                           Case No.
                 Donna Norman Stout
                                                                                                                  ,
                                                                                                  Debtors

                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                      (Continuation Sheet)

                                                             C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                                 O                                                             O    N   I
                                                             D   H            DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                             T    I   P       WITHOUT        UNSECURED
                                                                 W              NATURE OF LIEN, AND                                                        PORTION, IF
            INCLUDING ZIP CODE,                              B
                                                                               DESCRIPTION AND VALUE
                                                                                                                           I    Q   U
                                                                                                                                           DEDUCTING
                                                             T   J                                                         N    U   T                         ANY
           AND ACCOUNT NUMBER                                O   C                  OF PROPERTY                            G    I   E       VALUE OF
              (See instructions.)                            R
                                                                                   SUBJECT TO LIEN                         E    D   D     COLLATERAL
                                                                                                                           N    A
                                                                                                                           T    T
Account No. Unknown                                                Purchase Money Security Interest                             E
                                                                   2006 Chevrolet Malibu                                        D
Creditor #: 3
Car Care Auto Sales                                                VIN: 1G1ZT63856F140787
1027 N. Bridge Street                                              Nationwide Insurance Policy#
                                                                   6132K840371
Elkin, NC 28621
                                                                 J Current Mileage: 82,887
                                                                   90% Clean Retail
                                                                        Value $                             7,380.00                          8,000.00               620.00
Account No. 6128                                                     Non-Purchase Money Security Interest
Creditor #: 4
Springleaf Financial Services ****                                   Lawn Mower
Post Office Box 3327
Evansville, IN 47732-3327
                                                                 J

                                                                        Value $                              800.00                           4,073.00             3,273.00
Account No.




                                                                        Value $
Account No.




                                                                        Value $
Account No.




                                                                        Value $
       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                   Subtotal
                                                                                                                                             12,073.00             3,893.00
Schedule of Creditors Holding Secured Claims                                                                   (Total of this page)
                                                                                                                          Total             106,129.93             3,893.00
                                                                                                (Report on Summary of Schedules)

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B6E (Official Form 6E) (4/13)


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  In re         Gregory John Stout,                                                                                                Case No.
                Donna Norman Stout
                                                                                                                      ,
                                                                                                Debtors
                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).

          Administrative Expenses
        Administrative expenses allowed under 11 U.S.C. § 503(b), and any fees and charges assessed against the estate under chapter 123 of title 28 as provided in 11 U.S.C.
     507(a)(2).


     * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                             2         continuation sheets attached
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 B6E (Official Form 6E) (4/13) - Cont.




   In re         Gregory John Stout,                                                                                         Case No.
                 Donna Norman Stout
                                                                                                                ,
                                                                                                  Debtors
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                      (Continuation Sheet)
                                                                                                                         Taxes and Certain Other Debts
                                                                                                                          Owed to Governmental Units
                                                                                                                                      TYPE OF PRIORITY
                                                             C   Husband, Wife, Joint, or Community                      C    U   D
             CREDITOR'S NAME,                                O                                                           O    N   I                      AMOUNT NOT
                                                             D                                                           N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                               E   H          DATE CLAIM WAS INCURRED                      T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                              B   W
                                                                          AND CONSIDERATION FOR CLAIM                    I    Q   U
                                                                                                                                         OF CLAIM
           AND ACCOUNT NUMBER                                T   J                                                       N    U   T                                AMOUNT
                                                             O                                                           G    I   E                             ENTITLED TO
              (See instructions.)                            R   C                                                       E    D   D
                                                                                                                         N    A
                                                                                                                                                                   PRIORITY
                                                                                                                         T    T
 Account No.                                                         Notice Purposes Only                                     E
                                                                                                                              D
Creditor #: 1
Internal Revenue Service (MD)**
Post Office Box 7346                                                                                                                                     0.00
Philadelphia, PA 19101-7346
                                                                 J

                                                                                                                                                 0.00                    0.00
Account No.

The Honorable Eric Holder                                               Representing:
U.S. Department of Justice                                              Internal Revenue Service (MD)**                                   Notice Only
950 Pennsylvania Ave. NW
Washington, DC 20530-0001


Account No.                                                          Notice Purposes Only
Creditor #: 2
North Carolina Dept. of Revenue**
Post Office Box 1168                                                                                                                                     0.00
Raleigh, NC 27602-1168
                                                                 J

                                                                                                                                                 0.00                    0.00
Account No.

NC Department of Justice                                                Representing:
for NC Department of Revenue                                            North Carolina Dept. of Revenue**                                 Notice Only
Post Office Box 629
Raleigh, NC 27602-0629


Account No.                                                          Notice Purposes Only
Creditor #: 3
Yadkin County Tax Department
Yadkin County Courthouse                                                                                                                                 0.00
Post Office Box 1217
                                                                 J
Yadkinville, NC 27055

                                                                                                                                                 0.00                    0.00
       1
Sheet _____    2
            of _____  continuation sheets attached to                                                                 Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                      (Total of this page)                0.00                    0.00




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 B6E (Official Form 6E) (4/13) - Cont.




   In re         Gregory John Stout,                                                                                          Case No.
                 Donna Norman Stout
                                                                                                                 ,
                                                                                                  Debtors
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                      (Continuation Sheet)


                                                                                                                                Administrative Expenses
                                                                                                                                       TYPE OF PRIORITY
                                                             C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                O                                                            O    N   I                      AMOUNT NOT
                                                             D                                                            N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                               E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                              B   W
                                                                         AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                          OF CLAIM
           AND ACCOUNT NUMBER                                T   J                                                        N    U   T                                AMOUNT
                                                             O                                                            G    I   E                             ENTITLED TO
              (See instructions.)                            R   C                                                        E    D   D
                                                                                                                          N    A
                                                                                                                                                                    PRIORITY
                                                                                                                          T    T
Account No.                                                          Attorney Fee                                              E
                                                                                                                               D
Creditor #: 4
Law Offices of John T. Orcutt
6616-203 Six Forks Road                                                                                                                                   0.00
Raleigh, NC 27615
                                                                 J

                                                                                                                                              3,700.00              3,700.00
Account No.




Account No.




Account No.




Account No.




       2
Sheet _____    2
            of _____  continuation sheets attached to                                                                  Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                       (Total of this page)            3,700.00              3,700.00
                                                                                                                          Total                           0.00
                                                                                                (Report on Summary of Schedules)              3,700.00              3,700.00

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 B6F (Official Form 6F) (12/07)


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   In re         Gregory John Stout,                                                                                     Case No.
                 Donna Norman Stout
                                                                                                                 ,
                                                                                               Debtors

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                        C   Husband, Wife, Joint, or Community                              C   U   D
                   CREDITOR'S NAME,                                     O                                                                   O   N   I
                   MAILING ADDRESS                                      D   H                                                               N   L   S
                 INCLUDING ZIP CODE,                                    E               DATE CLAIM WAS INCURRED AND                         T   I   P
                                                                            W
                AND ACCOUNT NUMBER
                                                                        B             CONSIDERATION FOR CLAIM. IF CLAIM                     I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                        T   J                                                               N   U   T
                                                                        O               IS SUBJECT TO SETOFF, SO STATE.                     G   I   E
                  (See instructions above.)                             R
                                                                            C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No.                                                                                                                                 T   T
                                                                                                                                                E
                                                                                                                                                D
Creditor #: 1
.IMPORTANT NOTICE:
See notice re: creditor claims set                                          -
forth on Schedule A

                                                                                                                                                                             0.00
Account No. 0289                                                                Medical Bill
Creditor #: 2                                                                   Disputed re: amt, int, fees, ownership, etc.
Affiliated Mangement Services, Inc.                                             NOT ADMITTED
5651 Broadmoor                                                              J
Mission, KS 66202

                                                                                                                                                                         108.00
Account No. 5077                                                                Medical Bill
Creditor #: 3                                                                   Disputed re: amt, int, fees, ownership, etc.
Alere Toxicology                                                                NOT ADMITTED
14440 Myerlake Circle                                                       J
Clearwater, FL 33760

                                                                                                                                                                           14.00
Account No. 4223                                                                Medical Bill
Creditor #: 4                                                                   Disputed re: amt, int, fees, ownership, etc.
Amsol Physicians of Elkin                                                       NOT ADMITTED
Post Office Box 88087                                                       J
Chicago, IL 60680

                                                                                                                                                                         262.02

                                                                                                                                        Subtotal
 8
_____ continuation sheets attached                                                                                                                                       384.02
                                                                                                                              (Total of this page)




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   In re         Gregory John Stout,                                                                                     Case No.
                 Donna Norman Stout
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                          C   U   D
                   CREDITOR'S NAME,                                     O                                                               O   N   I
                   MAILING ADDRESS                                      D   H                                                           N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                     T   I   P
                                                                        B                                                               I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                 N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.                 G   I   E
                  (See instructions above.)                             R                                                               E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. 8795                                                                Credit Card Purchases                                       E
Creditor #: 5                                                                   Disputed re: amt, int, fees, ownership, etc.                D

Capital Bank                                                                    NOT ADMITTED
Post Office Box 18949                                                       J
Raleigh, NC 27619-8949

                                                                                                                                                                  800.00
Account No.

TekCollect                                                                      Representing:
871 Park Street                                                                 Capital Bank                                                                Notice Only
Columbus, OH 43215



Account No. 5296                                                                Medical Bill
Creditor #: 6                                                                   Disputed re: amt, int, fees, ownership, etc.
Celligent Diagnostics                                                           NOT ADMITTED
Post Office Box 32817                                                       J
Charlotte, NC 28232

                                                                                                                                                                    36.47
Account No. 8310                                                                Line of Credit
Creditor #: 7                                                                   Disputed re: amt, int, fees, ownership, etc.
Clearspring Loan Services INC.                                                  NOT ADMITTED
Post Office Box 52238                                                       J
Idaho Falls, ID 83405

                                                                                                                                                                6,476.62
Account No. 7876                                                                Medical Bill
Creditor #: 8                                                                   Disputed re: amt, int, fees, ownership, etc.
Cornerstone Health Care                                                         NOT ADMITTED
PO BOX 63013                                                                J
Charlotte, NC 28263

                                                                                                                                                                  133.83

           1
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                                7,446.92
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re         Gregory John Stout,                                                                                     Case No.
                 Donna Norman Stout
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                          C   U   D
                   CREDITOR'S NAME,                                     O                                                               O   N   I
                   MAILING ADDRESS                                      D   H                                                           N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                     T   I   P
                                                                        B                                                               I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                 N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.                 G   I   E
                  (See instructions above.)                             R                                                               E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. 2680                                                                Medical Bill                                                E
Creditor #: 9                                                                   Disputed re: amt, int, fees, ownership, etc.                D

Dianon Systems **                                                               NOT ADMITTED
A LabCorp Company                                                           J
1 Forest Pkwy
Shelton, CT 06484-6147
                                                                                                                                                                  134.00
Account No.

AMCA                                                                            Representing:
2269 S. Saw Mill River Rd.                                                      Dianon Systems **                                                           Notice Only
Building 3
Elmsford, NY 10523


Account No. 2860                                                                Services Rendered
Creditor #: 10                                                                  Disputed re: amt, int, fees, ownership, etc.
DISH Network ***                                                                NOT ADMITTED
Post Office Box 9033                                                        J
Littleton, CO 80160

                                                                                                                                                                  301.80
Account No.

ERSolutions, Inc. *                                                             Representing:
800 SW 39th Street                                                              DISH Network ***                                                            Notice Only
Post Office Box 9004
Renton, WA 98057


Account No.

Portfolio Recovery Associates ***                                               Representing:
Post Office Box 12914                                                           DISH Network ***                                                            Notice Only
Norfolk, VA 23541



           2
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                                  435.80
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re         Gregory John Stout,                                                                                     Case No.
                 Donna Norman Stout
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                          C   U   D
                   CREDITOR'S NAME,                                     O                                                               O   N   I
                   MAILING ADDRESS                                      D   H                                                           N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                     T   I   P
                                                                        B                                                               I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                 N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.                 G   I   E
                  (See instructions above.)                             R                                                               E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. 0005                                                                Medical Bill                                                E
Creditor #: 11                                                                  Disputed re: amt, int, fees, ownership, etc.                D

Forsyth Emergency Services                                                      NOT ADMITTED
3333 Silas Creek Parkway                                                    J
Winston Salem, NC 27103

                                                                                                                                                                  154.00
Account No.

JC Morgan and Associates                                                        Representing:
Post Office Box 9307                                                            Forsyth Emergency Services                                                  Notice Only
Saint Louis, MO 63117



Account No. 8237                                                                Medical Bill
Creditor #: 12                                                                  Disputed re: amt, int, fees, ownership, etc.
Hugh Chatham Memorial Hospital                                                  NOT ADMITTED
180 Parkwood Drive                                                          J
Elkin, NC 28621

                                                                                                                                                                5,059.57
Account No.

IC Systems*******                                                               Representing:
Post Office Box 64378                                                           Hugh Chatham Memorial Hospital                                              Notice Only
Saint Paul, MN 55164-0378



Account No. Unknown                                                             Medical Collection Account
Creditor #: 13                                                                  Disputed re: amt, int, fees, ownership, etc.
Interstate Credit Collections                                                   NOT ADMITTED
Post Office Box 3136                                                        J
Winston Salem, NC 27102-3136

                                                                                                                                                               Unknown

           3
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                                5,213.57
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re         Gregory John Stout,                                                                                     Case No.
                 Donna Norman Stout
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                          C   U   D
                   CREDITOR'S NAME,                                     O                                                               O   N   I
                   MAILING ADDRESS                                      D   H                                                           N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                     T   I   P
                                                                        B                                                               I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                 N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.                 G   I   E
                  (See instructions above.)                             R                                                               E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. 1244                                                                Medical Bill                                                E
Creditor #: 14                                                                  Disputed re: amt, int, fees, ownership, etc.                D

LabCorp (Laboratory Corporation)                                                NOT ADMITTED
Post Office Box 2100                                                        J
Burlington, NC 27216-2100

                                                                                                                                                                  150.00
Account No. 2859                                                                Credit Card Purchases
Creditor #: 15                                                                  Disputed re: amt, int, fees, ownership, etc.
Lowe's***                                                                       NOT ADMITTED
c/o GE Money Bank - BK Department                                           J
Post Office Box 103104
Roswell, GA 30076
                                                                                                                                                                    52.90
Account No. 5169                                                                Medical Bill
Creditor #: 16                                                                  Disputed re: amt, int, fees, ownership, etc.
North Carolina Baptist Hospital                                                 NOT ADMITTED
Medical Center Boulevard                                                    J
Winston Salem, NC 27157

                                                                                                                                                                1,367.60
Account No. 5051                                                                Medical Bill
Creditor #: 17                                                                  Disputed re: amt, int, fees, ownership, etc.
Northwest Ear, Nose, Throat                                                     NOT ADMITTED
250 Johnson Ridge Medical Park                                              J
Elkin, NC 28621

                                                                                                                                                                  373.29
Account No. Multiple Accounts                                                   Medical Bills
Creditor #: 18                                                                  Disputed re: amt, int, fees, ownership, etc.
Novant**                                                                        NOT ADMITTED
PO Box 602584                                                               J
Charlotte, NC 28260-2584

                                                                                                                                                                  250.00

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Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                                2,193.79
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re         Gregory John Stout,                                                                                     Case No.
                 Donna Norman Stout
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                          C   U   D
                   CREDITOR'S NAME,                                     O                                                               O   N   I
                   MAILING ADDRESS                                      D   H                                                           N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                     T   I   P
                                                                        B                                                               I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                 N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.                 G   I   E
                  (See instructions above.)                             R                                                               E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. 5780                                                                Medical Bill                                                E
Creditor #: 19                                                                  Disputed re: amt, int, fees, ownership, etc.                D

Optimum Outcomes                                                                NOT ADMITTED
2651 Warrenville Road                                                       J
Suite 5
Downers Grove, IL 60515-5544
                                                                                                                                                                    16.00
Account No. 7504                                                                Medical Bill
Creditor #: 20                                                                  Disputed re: amt, int, fees, ownership, etc.
Piedmont Imaging                                                                NOT ADMITTED
185 Kimel Park Drive                                                        J
Winston Salem, NC 27103

                                                                                                                                                                  100.00
Account No.

RMB of North Carolina, Inc.                                                     Representing:
409 Bearden Park Circle                                                         Piedmont Imaging                                                            Notice Only
Knoxville, TN 37919



Account No. Unknown                                                             Collection Account
Creditor #: 21                                                                  Disputed re: amt, int, fees, ownership, etc.
Portfolio Recovery Associates ***                                               NOT ADMITTED
Post Office Box 12914                                                       J
Norfolk, VA 23541

                                                                                                                                                                    52.00
Account No. 7441                                                                Medical Bill
Creditor #: 22                                                                  Disputed re: amt, int, fees, ownership, etc.
Preferred Pain Managment                                                        NOT ADMITTED
Post Office Box 24848                                                       J
Winston Salem, NC 27114

                                                                                                                                                                  132.26

           5
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                                  300.26
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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                                             Case 14-51148                  Doc 1           Filed 10/17/14           Page 47 of 80
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Gregory John Stout,                                                                                     Case No.
                 Donna Norman Stout
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                          C   U   D
                   CREDITOR'S NAME,                                     O                                                               O   N   I
                   MAILING ADDRESS                                      D   H                                                           N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                     T   I   P
                                                                        B                                                               I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                 N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.                 G   I   E
                  (See instructions above.)                             R                                                               E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. Unknown                                                             Medical Bill                                                E
Creditor #: 23                                                                  Disputed re: amt, int, fees, ownership, etc.                D

Quest Diagnostics ***                                                           NOT ADMITTED
Post Office Box 3010                                                        J
Southeastern, PA 19398-3010

                                                                                                                                                                  132.26
Account No. 1183                                                                Medical Bill
Creditor #: 24                                                                  Disputed re: amt, int, fees, ownership, etc.
Revivial Pain Management                                                        NOT ADMITTED
Post Office Box 100                                                         J
Jackson, NJ 08527

                                                                                                                                                                1,079.60
Account No. 8575                                                                Medical Bill
Creditor #: 25                                                                  Disputed re: amt, int, fees, ownership, etc.
Robert G. Peterson MD                                                           NOT ADMITTED
680 Parkwood Medical Park                                                   J
Elkin, NC 28621

                                                                                                                                                                  221.94
Account No. Unknown                                                             Medical Collection Account
Creditor #: 26                                                                  Disputed re: amt, int, fees, ownership, etc.
Stern and Associates, P.A.                                                      NOT ADMITTED
415 North Edgeworth Street                                                  J
Suite 210
Greensboro, NC 27401
                                                                                                                                                               Unknown
Account No. Unknown                                                             Medical Bill
Creditor #: 27                                                                  Disputed re: amt, int, fees, ownership, etc.
West Forsyth Family                                                             NOT ADMITTED
105 Stadium Oaks Drive                                                      J
Clemmons, NC 27012

                                                                                                                                                                  189.00

           6
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                                1,622.80
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Gregory John Stout,                                                                                     Case No.
                 Donna Norman Stout
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                          C   U   D
                   CREDITOR'S NAME,                                     O                                                               O   N   I
                   MAILING ADDRESS                                      D   H                                                           N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                     T   I   P
                                                                        B                                                               I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                 N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.                 G   I   E
                  (See instructions above.)                             R                                                               E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No.                                                                                                                                 E
                                                                                                                                            D

Medicredit Corporation **                                                       Representing:
P.O. Box 411187                                                                 West Forsyth Family                                                         Notice Only
Saint Louis, MO 63141-3187



Account No. Unknown                                                             Medical Bill
Creditor #: 28                                                                  Disputed re: amt, int, fees, ownership, etc.
Winston Neurology                                                               NOT ADMITTED
1492 Rymco Drive                                                            J
Winston Salem, NC 27103

                                                                                                                                                               Unknown
Account No. xxxxD367                                                            Possible Obligation
Creditor #: 29                                                                  Disputed re: amt, int, fees, ownership, etc.
World Omni                                                                      NOT ADMITTED
Attn: Managing Agent                                                        W
Post Office Box 991817
Mobile, AL 36691-1817
                                                                                                                                                                      0.00
Account No. 7186                                                                Medical Bill
Creditor #: 30                                                                  Disputed re: amt, int, fees, ownership, etc.
Yadkin Medical Associates                                                       NOT ADMITTED
Post Office Box 30143                                                       J
Charlotte, NC 28230

                                                                                                                                                                    50.00
Account No. 3972                                                                Medical Bill
Creditor #: 31                                                                  Disputed re: amt, int, fees, ownership, etc.
Yadkin River Radiology PA                                                       NOT ADMITTED
1365 Westgate Center Drive, Ste K-1                                         J
Winston Salem, NC 27103-3106

                                                                                                                                                                  646.00

           7
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                                  696.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Gregory John Stout,                                                                                       Case No.
                 Donna Norman Stout
                                                                                                                  ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                             C   U   D
                   CREDITOR'S NAME,                                     O                                                                  O   N   I
                   MAILING ADDRESS                                      D   H                                                              N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                        B                                                                  I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                  (See instructions above.)                             R                                                                  E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. 3019                                                                Medical Bill                                                   E
Creditor #: 32                                                                  Disputed re: amt, int, fees, ownership, etc.                   D

Yadkin Vision Center                                                            NOT ADMITTED
Post Office Box 565                                                         J
Morrisville, NC 27560

                                                                                                                                                                     255.91
Account No.




Account No.




Account No.




Account No.




           8
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                     255.91
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)
                                                                                                                                           Total
                                                                                                                 (Report on Summary of Schedules)                18,549.07


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B6G (Official Form 6G) (12/07)


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  In re             Gregory John Stout,                                                                         Case No.
                    Donna Norman Stout
                                                                                                      ,
                                                                                    Debtors
                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                      Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                 State contract number of any government contract.




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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                                            Case 14-51148              Doc 1   Filed 10/17/14      Page 51 of 80
B6H (Official Form 6H) (12/07)


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  In re          Gregory John Stout,                                                                     Case No.
                 Donna Norman Stout
                                                                                               ,
                                                                                Debtors
                                                                   SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                      NAME AND ADDRESS OF CREDITOR




       0
               continuation sheets attached to Schedule of Codebtors
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                                      Case 14-51148            Doc 1     Filed 10/17/14            Page 52 of 80



Fill in this information to identify your case:

Debtor 1                      Gregory John Stout

Debtor 2                      Donna Norman Stout
(Spouse, if filing)


United States Bankruptcy Court for the:       MIDDLE DISTRICT OF NORTH CAROLINA (NC
                                              EXEMPTIONS)

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing post-petition chapter
                                                                                                            13 income as of the following date:

Official Form B 6I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                           12/13
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                  Employed                                  Employed
                                             Employment status
       attach a separate page with                                                                               Not employed
                                                                       Not employed
       information about additional
       employers.                            Occupation            Technician II                              Disabled
       Include part-time, seasonal, or
                                             Employer's name       Rock-Tenn Services
       self-employed work.

       Occupation may include student        Employer's address    504 Thrasher Street
       or homemaker, if it applies.                                Post Office Box 4098
                                                                   Norcross, GA 30071

                                             How long employed there?         1 Year

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1      For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.      $        4,599.58     $             0.00

3.     Estimate and list monthly overtime pay.                                             3.     +$             0.00    +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                        4.      $      4,599.58           $       0.00




Official Form B 6I                                                      Schedule I: Your Income                                                 page 1
                                Case 14-51148              Doc 1        Filed 10/17/14                Page 53 of 80


Debtor 1    Gregory John Stout
Debtor 2    Donna Norman Stout                                                                    Case number (if known)



                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      4,599.58       $             0.00

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $        699.85       $                0.00
      5b.   Mandatory contributions for retirement plans                                   5b.        $          0.00       $                0.00
      5c.   Voluntary contributions for retirement plans                                   5c.        $          0.00       $                0.00
      5d.   Required repayments of retirement fund loans                                   5d.        $          0.00       $                0.00
      5e.   Insurance                                                                      5e.        $        240.67       $                0.00
      5f.   Domestic support obligations                                                   5f.        $          0.00       $                0.00
      5g.   Union dues                                                                     5g.        $          0.00       $                0.00
      5h.   Other deductions. Specify:                                                     5h.+       $          0.00 +     $                0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            940.52       $                0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          3,659.06       $                0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00   $                0.00
      8b. Interest and dividends                                                           8b.        $              0.00   $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $           0.00
      8d. Unemployment compensation                                                        8d.        $              0.00   $           0.00
      8e. Social Security                                                                  8e.        $              0.00   $       1,059.90
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $                0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $           1,059.90

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              3,659.06 + $      1,059.90 = $            4,718.96
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                 11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.    $          4,718.96
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form B 6I                                                    Schedule I: Your Income                                                        page 2
                                    Case 14-51148                 Doc 1            Filed 10/17/14          Page 54 of 80



Fill in this information to identify your case:

Debtor 1                 Gregory John Stout                                                                   Check if this is:
                                                                                                                  An amended filing
Debtor 2                 Donna Norman Stout                                                                       A supplement showing post-petition chapter
(Spouse, if filing)                                                                                               13 expenses as of the following date:

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF NORTH CAROLINA (NC                                        MM / DD / YYYY
                                          EXEMPTIONS)

Case number                                                                                                            A separate filing for Debtor 2 because Debtor
(If known)                                                                                                             2 maintains a separate household



Official Form B 6J
Schedule J: Your Expenses                                                                                                            12/13
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?               No
      Do not list Debtor 1                  Yes.   Fill out this information for     Dependent’s relationship to          Dependent’s        Does dependent
      and Debtor 2.                                each dependent..............      Debtor 1 or Debtor 2                 age                live with you?
      Do not state the                                                                                                                          No
      dependents' names.                                                                                                                        Yes
                                                                                                                                                No
                                                                                                                                                Yes
                                                                                                                                                No
                                                                                                                                                Yes
                                                                                                                                                No
                                                                                                                                                Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 6I.)                                                                                                            Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                                    0.00

      If not included in line 4:

      4a. Real estate taxes                                                                                  4a.   $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                       4b.   $                                0.00
      4c. Home maintenance, repair, and upkeep expenses                                                      4c.   $                              100.00
      4d. Homeowner’s association or condominium dues                                                        4d.   $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                              5.   $                                0.00




Official Form B 6J                                                   Schedule J: Your Expenses                                                    page 1
                                   Case 14-51148                 Doc 1          Filed 10/17/14               Page 55 of 80


Debtor 1     Gregory John Stout
Debtor 2     Donna Norman Stout                                                                         Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                      6a.   $                                250.00
      6b. Water, sewer, garbage collection                                                                    6b.   $                                  0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                      6c.   $                                  0.00
      6d. Other. Specify: Cell Phone                                                                          6d.   $                                 80.00
             Cable                                                                                                  $                                115.00
             Internet                                                                                               $                                 45.00
7.    Food and housekeeping supplies                                                          7.                    $                                588.00
8.    Childcare and children’s education costs                                                8.                    $                                  0.00
9.    Clothing, laundry, and dry cleaning                                                     9.                    $                                162.00
10.   Personal care products and services                                                   10.                     $                                 61.00
11.   Medical and dental expenses                                                           11.                     $                                250.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                          12. $                                                    450.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                    13. $                                                    240.00
14.   Charitable contributions and religious donations                                      14. $                                                      0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                      0.00
      15b. Health insurance                                                                15b. $                                                      0.00
      15c. Vehicle insurance                                                               15c. $                                                     48.00
      15d. Other insurance. Specify:                                                       15d. $                                                      0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Personal Property Taxes                                                      16. $                                                     10.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                       0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                       0.00
      17c. Other. Specify:                                                                 17c. $                                                       0.00
      17d. Other. Specify:                                                                 17d. $                                                       0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 6I).         18. $                                                       0.00
19.   Other payments you make to support others who do not live with you.                        $                                                      0.00
      Specify:                                                                              19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                      0.00
      20b. Real estate taxes                                                               20b. $                                                      0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                      0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                      0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                      0.00
21.   Other: Specify:    Pet Expenses                                                       21. +$                                                    18.30
      Emergency/Miscellaneous                                                                    +$                                                  215.00
22. Your monthly expenses. Add lines 4 through 21.                                                            22.       $                      2,632.30
    The result is your monthly expenses.
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                               4,718.96
    23b. Copy your monthly expenses from line 22 above.                                                      23b. -$                              2,632.30

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c. $                               2,086.66

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
        No.
        Yes.
      Explain:




Official Form B 6J                                                  Schedule J: Your Expenses                                                         page 2
                                        Case 14-51148                Doc 1      Filed 10/17/14           Page 56 of 80
B 22C (Official Form 22C) (Chapter 13) (04/13)
        Gregory John Stout                                             According to the calculations required by this statement:
 In re  Donna Norman Stout                                               The applicable commitment period is 3 years.
               Debtor(s)                                                 The applicable commitment period is 5 years.
 Case Number:
                      (If known)                                         Disposable income is determined under § 1325(b)(3).
                                                                         Disposable income is not determined under § 1325(b)(3).
                                                                       (Check the boxes as directed in Lines 17 and 23 of this statement.)


                      CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
                AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
In addition to Schedules I and J, this statement must be completed by every individual chapter 13 debtor, whether or not filing jointly. Joint debtors
may complete one statement only.
                                                                     Part I. REPORT OF INCOME
             Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
     1       a. Unmarried. Complete only Column A ("Debtor's Income") for Lines 2-10.
             b.     Married. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 2-10.
             All figures must reflect average monthly income received from all sources, derived during the six Column A                          Column B
             calendar months prior to filing the bankruptcy case, ending on the last day of the month before
             the filing. If the amount of monthly income varied during the six months, you must divide the      Debtor's                          Spouse's
             six-month total by six, and enter the result on the appropriate line.                              Income                            Income

     2       Gross wages, salary, tips, bonuses, overtime, commissions.                                                $           4,599.58 $                0.00
             Income from the operation of a business, profession, or farm. Subtract Line b from Line a and
             enter the difference in the appropriate column(s) of Line 3. If you operate more than one business,
             profession or farm, enter aggregate numbers and provide details on an attachment. Do not enter a
             number less than zero. Do not include any part of the business expenses entered on Line b as
     3       a deduction in Part IV.
                                                                         Debtor                 Spouse
              a.     Gross receipts                               $               0.00 $                  0.00
              b.     Ordinary and necessary business expenses $                   0.00 $                  0.00
              c.     Business income                              Subtract Line b from Line a                    $                    0.00 $                 0.00
             Rents and other real property income. Subtract Line b from Line a and enter the difference in
             the appropriate column(s) of Line 4. Do not enter a number less than zero. Do not include any
             part of the operating expenses entered on Line b as a deduction in Part IV.
     4                                                                 Debtor                Spouse
              a.    Gross receipts                               $              0.00 $                 0.00
              b.    Ordinary and necessary operating expenses $                 0.00 $                 0.00
              c.    Rent and other real property income          Subtract Line b from Line a                           $              0.00 $                 0.00
     5       Interest, dividends, and royalties.                                                                       $              0.00 $                 0.00
     6       Pension and retirement income.                                                                            $              0.00 $                 0.00
             Any amounts paid by another person or entity, on a regular basis, for the household
             expenses of the debtor or the debtor's dependents, including child support paid for that
     7       purpose. Do not include alimony or separate maintenance payments or amounts paid by the
             debtor's spouse. Each regular payment should be reported in only one column; if a payment is
             listed in Column A, do not report that payment in Column B.                                               $              0.00 $                 0.00
             Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
             However, if you contend that unemployment compensation received by you or your spouse was a
             benefit under the Social Security Act, do not list the amount of such compensation in Column A
     8       or B, but instead state the amount in the space below:
              Unemployment compensation claimed to
              be a benefit under the Social Security Act Debtor $                   0.00 Spouse $               0.00 $                0.00 $                 0.00




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             Income from all other sources. Specify source and amount. If necessary, list additional sources
             on a separate page. Total and enter on Line 9. Do not include alimony or separate
             maintenance payments paid by your spouse, but include all other payments of alimony or
             separate maintenance. Do not include any benefits received under the Social Security Act or
     9       payments received as a victim of a war crime, crime against humanity, or as a victim of
             international or domestic terrorism.
                                                                     Debtor                    Spouse
              a.                                             $                        $
              b.                                             $                        $                      $                  0.00 $                0.00
    10       Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2 through 9
             in Column B. Enter the total(s).                                                               $               4,599.58 $                0.00
    11       Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B, and enter
             the total. If Column B has not been completed, enter the amount from Line 10, Column A.        $                                  4,599.58

                                    Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
    12       Enter the amount from Line 11                                                                                           $          4,599.58
             Marital Adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that
             calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of your spouse,
             enter on Line 13 the amount of the income listed in Line 10, Column B that was NOT paid on a regular basis for
             the household expenses of you or your dependents and specify, in the lines below, the basis for excluding this
             income (such as payment of the spouse's tax liability or the spouse's support of persons other than the debtor or the
    13       debtor's dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments
             on a separate page. If the conditions for entering this adjustment do not apply, enter zero.
              a.                                                                  $
              b.                                                                  $
              c.                                                                  $
             Total and enter on Line 13                                                                                              $                0.00
    14       Subtract Line 13 from Line 12 and enter the result.                                                                     $          4,599.58

    15       Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number 12 and
             enter the result.                                                                                                       $        55,194.96
             Applicable median family income. Enter the median family income for applicable state and household size. (This
    16       information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)

              a. Enter debtor's state of residence:                  NC      b. Enter debtor's household size:          2            $        52,419.00
             Application of § 1325(b)(4). Check the applicable box and proceed as directed.
                   The amount on Line 15 is less than the amount on Line 16. Check the box for "The applicable commitment period is 3 years" at the
    17             top of page 1 of this statement and continue with this statement.
                   The amount on Line 15 is not less than the amount on Line 16. Check the box for "The applicable commitment period is 5 years"
                   at the top of page 1 of this statement and continue with this statement.
                                Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
    18       Enter the amount from Line 11.                                                                                          $          4,599.58
             Marital Adjustment. If you are married, but are not filing jointly with your spouse, enter on Line 19 the total of
             any income listed in Line 10, Column B that was NOT paid on a regular basis for the household expenses of the
             debtor or the debtor's dependents. Specify in the lines below the basis for excluding the Column B income(such as
             payment of the spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's
             dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments on a
    19       separate page. If the conditions for entering this adjustment do not apply, enter zero.
              a.                                                                  $
              b.                                                                  $
              c.                                                                  $
             Total and enter on Line 19.                                                                                             $                0.00
    20       Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                            $          4,599.58




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    21       Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number 12 and
             enter the result.                                                                                                        $        55,194.96
    22       Applicable median family income. Enter the amount from Line 16.                                                          $        52,419.00
             Application of § 1325(b)(3). Check the applicable box and proceed as directed.
                   The amount on Line 21 is more than the amount on Line 22. Check the box for "Disposable income is determined under §
    23             1325(b)(3)" at the top of page 1 of this statement and complete the remaining parts of this statement.
                   The amount on Line 21 is not more than the amount on Line 22. Check the box for "Disposable income is not determined under §
                   1325(b)(3)" at the top of page 1 of this statement and complete Part VII of this statement. Do not complete Parts IV, V, or VI.

                                    Part IV. CALCULATION OF DEDUCTIONS FROM INCOME
                                   Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
             National Standards: food, apparel and services, housekeeping supplies, personal care, and miscellaneous.
             Enter in Line 24A the "Total" amount from IRS National Standards for Allowable Living Expenses for the
   24A       applicable number of persons. (This information is available at www.usdoj.gov/ust/ or from the clerk of the
             bankruptcy court.) The applicable number of persons is the number that would currently be allowed as exemptions
             on your federal income tax return, plus the number of any additional dependents whom you support.                        $          1,092.00
             National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
             Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
             Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
             www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of persons
             who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65 years of age or
             older. (The applicable number of persons in each age category is the number in that category that would currently
             be allowed as exemptions on your federal income tax return, plus the number of any additional dependents whom
             you support.) Multiply Line a1 by Line b1 to obtain a total amount for persons under 65, and enter the result in
   24B       Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons 65 and older, and enter the result in Line
             c2. Add Lines c1 and c2 to obtain a total health care amount, and enter the result in Line 24B.
              Persons under 65 years of age                                  Persons 65 years of age or older
              a1.      Allowance per person                             60 a2.    Allowance per person                      144
              b1.      Number of persons                                  2 b2.   Number of persons                               0
              c1.      Subtotal                                      120.00 c2.   Subtotal                                  0.00 $                 120.00
             Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
             Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is
   25A       available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable family size consists of
             the number that would currently be allowed as exemptions on your federal income tax return, plus the number of
             any additional dependents whom you support.                                                                              $            475.00
             Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the IRS
             Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information is
             available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable family size consists of
             the number that would currently be allowed as exemptions on your federal income tax return, plus the number of
             any additional dependents whom you support); enter on Line b the total of the Average Monthly Payments for any
   25B       debts secured by your home, as stated in Line 47; subtract Line b from Line a and enter the result in Line 25B. Do
             not enter an amount less than zero.
              a.      IRS Housing and Utilities Standards; mortgage/rent expense         $                               825.00
              b.      Average Monthly Payment for any debts secured by your
                      home, if any, as stated in Line 47                                 $                              1,208.30
              c.      Net mortgage/rental expense                                        Subtract Line b from Line a.                 $                0.00
             Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A and
             25B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities
    26       Standards, enter any additional amount to which you contend you are entitled, and state the basis for your
             contention in the space below:
                                                                                                                                      $                0.00




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             Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to an
             expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and
             regardless of whether you use public transportation.
             Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are
   27A       included as a contribution to your household expenses in Line 7. 0        1      2 or more.
             If you checked 0, enter on Line 27A the "Public Transportation" amount from IRS Local Standards:
             Transportation. If you checked 1 or 2 or more, enter on Line 27A the "Operating Costs" amount from IRS Local
             Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical Area or
             Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)           $            244.00
             Local Standards: transportation; additional public transportation expense. If you pay the operating expenses
             for a vehicle and also use public transportation, and you contend that you are entitled to an additional deduction for
   27B       your public transportation expenses, enter on Line 27B the "Public Transportation" amount from the IRS Local
             Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
             court.)                                                                                                                $                 0.00
             Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for which
             you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two
             vehicles.)   1     2 or more.
             Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
             (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
    28       Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from Line a and enter
             the result in Line 28. Do not enter an amount less than zero.
              a.      IRS Transportation Standards, Ownership Costs                 $                                    517.00
                      Average Monthly Payment for any debts secured by Vehicle
              b.      1, as stated in Line 47                                       $                                    165.54
              c.      Net ownership/lease expense for Vehicle 1                     Subtract Line b from Line a.                     $            351.46
             Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
             the "2 or more" Box in Line 28.
             Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
             (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
    29       Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b from Line a and enter
             the result in Line 29. Do not enter an amount less than zero.
              a.      IRS Transportation Standards, Ownership Costs                 $                                       0.00
                      Average Monthly Payment for any debts secured by Vehicle
              b.      2, as stated in Line 47                                       $                                       0.00
              c.      Net ownership/lease expense for Vehicle 2                     Subtract Line b from Line a.                     $                0.00
             Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all federal,
    30       state, and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes, social
             security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                          $            699.85
             Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
    31       deductions that are required for your employment, such as mandatory retirement contributions, union dues, and
             uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.                            $                0.00
             Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for term
    32       life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or for
             any other form of insurance.                                                                                            $                0.00
             Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required to
    33       pay pursuant to the order of a court or administrative agency, such as spousal or child support payments. Do not
             include payments on past due obligations included in line 49.                                                           $                0.00
             Other Necessary Expenses: education for employment or for a physically or mentally challenged child. Enter
    34       the total average monthly amount that you actually expend for education that is a condition of employment and for
             education that is required for a physically or mentally challenged dependent child for whom no public education
             providing similar services is available.                                                                          $                      0.00

    35       Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
             childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.           $                0.00




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             Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend on
    36       health care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by
             insurance or paid by a health savings account, and that is in excess of the amount entered in Line 24B. Do not
             include payments for health insurance or health savings accounts listed in Line 39.                                       $                0.00
             Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
    37       actually pay for telecommunication services other than your basic home telephone and cell phone service - such as
             pagers, call waiting, caller id, special long distance, or internet service-to the extent necessary for your health and
             welfare or that of your dependents. Do not include any amount previously deducted.                                        $                0.00
    38       Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                                       $          2,982.31

                                              Subpart B: Additional Living Expense Deductions
                                     Note: Do not include any expenses that you have listed in Lines 24-37
             Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly expenses in
             the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your
             dependents.
    39        a.         Health Insurance                                    $                         240.67
              b.         Disability Insurance                                $                            0.00
              c.         Health Savings Account                              $                            0.00
             Total and enter on Line 39                                                                                                $            240.67

             If you do not actually expend this total amount, state your actual total average monthly expenditures in the space
             below:
             $
             Continued contributions to the care of household or family members. Enter the total average actual monthly
    40       expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically
             ill, or disabled member of your household or member of your immediate family who is unable to pay for such
             expenses. Do not include payments listed in Line 34.                                                                      $                0.00
             Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
    41       actually incur to maintain the safety of your family under the Family Violence Prevention and Services Act or other
             applicable federal law. The nature of these expenses is required to be kept confidential by the court.              $                      0.00
             Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS Local
    42       Standards for Housing and Utilities that you actually expend for home energy costs. You must provide your case
             trustee with documentation of your actual expenses, and you must demonstrate that the additional amount
             claimed is reasonable and necessary.                                                                                      $                0.00
             Education expenses for dependent children under 18. Enter the total average monthly expenses that you
             actually incur, not to exceed $156.25 per child, for attendance at a private or public elementary or secondary
    43       school by your dependent children less than 18 years of age. You must provide your case trustee with
             documentation of your actual expenses, and you must explain why the amount claimed is reasonable and
             necessary and not already accounted for in the IRS Standards.                                                             $                0.00
             Additional food and clothing expense. Enter the total average monthly amount by which your food and clothing
             expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National
    44       Standards, not to exceed 5% of those combined allowances. (This information is available at www.usdoj.gov/ust/
             or from the clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is
             reasonable and necessary.                                                                                                 $                0.00
             Charitable contributions. Enter the amount reasonably necessary for you to expend each month on charitable
    45       contributions in the form of cash or financial instruments to a charitable organization as defined in 26 U.S.C. §
             170(c)(1)-(2). Do not include any amount in excess of 15% of your gross monthly income.                                   $                0.00
    46       Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.                               $            240.67




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                                                           Subpart C: Deductions for Debt Payment
             Future payments on secured claims. For each of your debts that is secured by an interest in property that you
             own, list the name of creditor, identify the property securing the debt, state the Average Monthly Payment, and
    47       check whether the payment includes taxes or insurance. The Average Monthly Payment is the total of all amounts
             scheduled as contractually due to each Secured Creditor in the 60 months following the filing of the bankruptcy
             case, divided by 60. If necessary, list additional entries on a separate page. Enter the total of the Average Monthly
             Payments on Line 47.
                    Name of Creditor                Property Securing the Debt                    Average          Does payment
                                                                                                  Monthly          include taxes
                                                                                                  Payment          or insurance
                                                    House and Land:
                                                    5716 Rena Road
                    Bank of America Home            Hamptonville NC 27020
               a. Loans**                           Tax Value                                 $          846.00       yes no
                                                            House and Land:
                                                            5716 Rena Road
                                                            Hamptonville NC 27020
                b. BB&T Mortgage***                         Tax Value                        $           362.30     yes     no
                                                            2006 Chevrolet Malibu
                                                            VIN: 1G1ZT63856F140787
                                                            Nationwide Insurance Policy#
                                                            6132K840371
                                                            Current Mileage: 82,887
                c. Car Care Auto Sales                      90% Clean Retail                 $           165.54     yes     no
                   Springleaf Financial
                d. Services ****                            Lawn Mower                       $             16.55    yes     no
                                                                                                 Total: Add Lines                    $          1,390.39
             Other payments on secured claims. If any of debts listed in Line 47 are secured by your primary residence, a
             motor vehicle, or other property necessary for your support or the support of your dependents, you may include in
    48       your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor in addition to the
             payments listed in Line 47, in order to maintain possession of the property. The cure amount would include any
             sums in default that must be paid in order to avoid repossession or foreclosure. List and total any such amounts in
             the following chart. If necessary, list additional entries on a separate page.
                    Name of Creditor                   Property Securing the Debt                    1/60th of the Cure Amount
               a. -NONE-                                                                       $
                                                                                                               Total: Add Lines      $                0.00
             Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such as
    49       priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing. Do
             not include current obligations, such as those set out in Line 33.                                                      $              61.67
             Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and enter the
             resulting administrative expense.

              a.       Projected average monthly Chapter 13 plan payment.                    $                            1,572.00
    50        b.       Current multiplier for your district as determined under schedules
                       issued by the Executive Office for United States Trustees. (This
                       information is available at www.usdoj.gov/ust/ or from the clerk of
                       the bankruptcy court.)                                                x                             6.00
              c.       Average monthly administrative expense of chapter 13 case             Total: Multiply Lines a and b           $              94.32
    51       Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.                                              $          1,546.38

                                                          Subpart D: Total Deductions from Income
    52       Total of all deductions from income. Enter the total of Lines 38, 46, and 51.                                           $          4,769.36

                            Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
    53       Total current monthly income. Enter the amount from Line 20.                                                            $          4,599.58




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             Support income. Enter the monthly average of any child support payments, foster care payments, or disability
    54       payments for a dependent child, reported in Part I, that you received in accordance with applicable nonbankruptcy
             law, to the extent reasonably necessary to be expended for such child.                                                    $                0.00
             Qualified retirement deductions. Enter the monthly total of (a) all amounts withheld by your employer from
    55       wages as contributions for qualified retirement plans, as specified in § 541(b)(7) and (b) all required repayments of
             loans from retirement plans, as specified in § 362(b)(19).                                                            $                    0.00
    56       Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                                         $          4,769.36
             Deduction for special circumstances. If there are special circumstances that justify additional expenses for which
             there is no reasonable alternative, describe the special circumstances and the resulting expenses in lines a-c below.
             If necessary, list additional entries on a separate page. Total the expenses and enter the total in Line 57. You must
             provide your case trustee with documentation of these expenses and you must provide a detailed explanation
             of the special circumstances that make such expense necessary and reasonable.
    57                Nature of special circumstances                                                 Amount of Expense
              a.                                                                                      $
              b.                                                                                      $
              c.                                                                                      $
                                                                                                      Total: Add Lines                 $                0.00

    58       Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, 56, and 57 and enter the
             result.                                                                                                                   $          4,769.36
    59       Monthly Disposable Income Under § 1325(b)(2). Subtract Line 58 from Line 53 and enter the result.                         $           -169.78

                                                        Part VI. ADDITIONAL EXPENSE CLAIMS
             Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare
             of you and your family and that you contend should be an additional deduction from your current monthly income under §
             707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for
             each item. Total the expenses.

    60                Expense Description                                                                             Monthly Amount
              a.                                                                                          $
              b.                                                                                          $
              c.                                                                                          $
              d.                                                                                          $
                                                                     Total: Add Lines a, b, c and d       $




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                                                                     Part VII. VERIFICATION
             I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
             must sign.)
                           Date: October 17, 2014                                        Signature: /s/ Gregory John Stout
                                                                                                      Gregory John Stout
    61                                                                                                           (Debtor)

                               Date:      October 17, 2014                               Signature    /s/ Donna Norman Stout
                                                                                                       Donna Norman Stout
                                                                                                               (Joint Debtor, if any)




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B7 (Official Form 7) (04/13)



                                                              United States Bankruptcy Court
                                                   Middle District of North Carolina (NC Exemptions)
             Gregory John Stout
 In re       Donna Norman Stout                                                                                Case No.
                                                                                 Debtor(s)                     Chapter        13

                                                       STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                SOURCE
                          $32,128.74                            2014 YTD: Husband Employment/Wages
                          $21,547.00                            2013: Husband Employment/Wages
                          $27,172.00                            2012: Husband Employment/Wages

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                SOURCE
                          $10,590.00                            2014 YTD: Wife Social Security

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                         AMOUNT                                 SOURCE
                         $15,982.80                             2013: Wife Social Security
                         $15,718.80                             2012: Wife Social Security

               3. Payments to creditors

      None     Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
               services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
               aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
               payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
               a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
               include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
               not filed.)

 NAME AND ADDRESS                                                        DATES OF                                                       AMOUNT STILL
    OF CREDITOR                                                          PAYMENTS                             AMOUNT PAID                 OWING

      None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
               transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                                                                   AMOUNT
                                                                         DATES OF                                   PAID OR
                                                                         PAYMENTS/                                VALUE OF              AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                            TRANSFERS                               TRANSFERS                OWING

      None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                             DATE OF PAYMENT                      AMOUNT PAID                 OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

      None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                       NATURE OF             COURT OR AGENCY                              STATUS OR
 AND CASE NUMBER                                                       PROCEEDING            AND LOCATION                                 DISPOSITION

      None     b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                           DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                        DATE OF SEIZURE                 PROPERTY




  *   Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                      DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                    FORECLOSURE SALE,       DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                   TRANSFER OR RETURN               PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                        ASSIGNMENT                 TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                               NAME AND LOCATION
 NAME AND ADDRESS                                                   OF COURT                     DATE OF            DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                CASE TITLE & NUMBER               ORDER                    PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                         RELATIONSHIP TO                                         DESCRIPTION AND
 PERSON OR ORGANIZATION                                         DEBTOR, IF ANY                 DATE OF GIFT             VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                            DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                      LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                               BY INSURANCE, GIVE PARTICULARS                    DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                           DATE OF PAYMENT,                               AMOUNT OF MONEY
 NAME AND ADDRESS                                                        NAME OF PAYER IF OTHER                       OR DESCRIPTION AND VALUE
    OF PAYEE                                                                 THAN DEBTOR                                    OF PROPERTY




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               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                 DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                          DATE                               AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                          AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                              DATE(S) OF                  VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                     TRANSFER(S)                 IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                       TYPE OF ACCOUNT, LAST FOUR
                                                                       DIGITS OF ACCOUNT NUMBER,                        AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                      AND AMOUNT OF FINAL BALANCE                              OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                          NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                 OF THOSE WITH ACCESS                    DESCRIPTION                   DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                     TO BOX OR DEPOSITORY                    OF CONTENTS                    SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                         DATE OF SETOFF                                    AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                DESCRIPTION AND VALUE OF PROPERTY                LOCATION OF PROPERTY




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               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                              NAME USED                                        DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

               "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
               operated by the debtor, including, but not limited to, disposal sites.

               "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
               pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                          NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                          NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                    DOCKET NUMBER                                    STATUS OR DISPOSITION




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               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                   LAST FOUR DIGITS OF
                                   SOCIAL-SECURITY OR
                                   OTHER INDIVIDUAL
                                   TAXPAYER-I.D. NO.                                                                               BEGINNING AND
 NAME                              (ITIN)/ COMPLETE EIN              ADDRESS                      NATURE OF BUSINESS               ENDING DATES

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                  ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                               ADDRESS                                                DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                   ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                DATE ISSUED




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               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                           DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                  INVENTORY SUPERVISOR                                   (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.


                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                           RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                    NATURE OF INTEREST                                PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                           NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                    TITLE                                 OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                          ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                    TITLE                                 DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                        AMOUNT OF MONEY
 OF RECIPIENT,                                                       DATE AND PURPOSE                                  OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                              OF WITHDRAWAL                                     VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                           TAXPAYER IDENTIFICATION NUMBER (EIN)




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               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                               TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                             ******




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                                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date October 17, 2014                                               Signature    /s/ Gregory John Stout
                                                                                  Gregory John Stout
                                                                                  Debtor


 Date October 17, 2014                                               Signature    /s/ Donna Norman Stout
                                                                                  Donna Norman Stout
                                                                                  Joint Debtor

                  Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                              United States Bankruptcy Court
                                                   Middle District of North Carolina (NC Exemptions)
            Gregory John Stout
 In re      Donna Norman Stout                                                                             Case No.
                                                                                  Debtor(s)                Chapter    13




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of      47
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date October 17, 2014                                               Signature    /s/ Gregory John Stout
                                                                                  Gregory John Stout
                                                                                  Debtor


 Date October 17, 2014                                               Signature    /s/ Donna Norman Stout
                                                                                  Donna Norman Stout
                                                                                  Joint Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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          North Carolina Employment Security
          Commission
          Post Office Box 26504
          Raleigh, NC 27611


          NC Child Support
          Centralized Collections
          Post Office Box 900006
          Raleigh, NC 27675-9006


          Equifax Information Systems LLC
          P.O. Box 740241
          Atlanta, GA 30374-0241


          Experian
          P.O. Box 2002
          Allen, TX 75013-2002


          Trans Union Corporation
          P.O. Box 2000
          Crum Lynne, PA 19022-2000


          Internal Revenue Service (MD)**
          Post Office Box 7346
          Philadelphia, PA 19101-7346


          US Attorney's Office (MD)**
          101 S. Edgeworth Street, 4th floor
          Greensboro, NC 27401


          Affiliated Mangement Services, Inc.
          5651 Broadmoor
          Mission, KS 66202


          Alere Toxicology
          14440 Myerlake Circle
          Clearwater, FL 33760


          AMCA
          2269 S. Saw Mill River Rd.
          Building 3
          Elmsford, NY 10523
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      Amsol Physicians of Elkin
      Post Office Box 88087
      Chicago, IL 60680


      Bank of America Home Loans**
      Attn: Managing Agent
      Post Office Box 5170
      Simi Valley, CA 93062-5170


      BB&T Mortgage***
      Attn: Managing Agent
      Post Office Box 2027
      Greenville, SC 29602


      Capital Bank
      Post Office Box 18949
      Raleigh, NC 27619-8949


      Car Care Auto Sales
      1027 N. Bridge Street
      Elkin, NC 28621


      Celligent Diagnostics
      Post Office Box 32817
      Charlotte, NC 28232


      Clearspring Loan Services INC.
      Post Office Box 52238
      Idaho Falls, ID 83405


      Cornerstone Health Care
      PO BOX 63013
      Charlotte, NC 28263


      Dianon Systems **
      A LabCorp Company
      1 Forest Pkwy
      Shelton, CT 06484-6147


      DISH Network ***
      Post Office Box 9033
      Littleton, CO 80160
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      ERSolutions, Inc. *
      800 SW 39th Street
      Post Office Box 9004
      Renton, WA 98057


      Fannie Mae
      3900 Wisconsin Ave, NW
      Washington, DC 20016-2892


      Forsyth Emergency Services
      3333 Silas Creek Parkway
      Winston Salem, NC 27103


      Hugh Chatham Memorial Hospital
      180 Parkwood Drive
      Elkin, NC 28621


      IC Systems*******
      Post Office Box 64378
      Saint Paul, MN 55164-0378


      Internal Revenue Service (MD)**
      Post Office Box 7346
      Philadelphia, PA 19101-7346


      Interstate Credit Collections
      Post Office Box 3136
      Winston Salem, NC 27102-3136


      JC Morgan and Associates
      Post Office Box 9307
      Saint Louis, MO 63117


      LabCorp (Laboratory Corporation)
      Post Office Box 2100
      Burlington, NC 27216-2100


      Law Offices of John T. Orcutt
      6616-203 Six Forks Road
      Raleigh, NC 27615


      Lowe's***
      c/o GE Money Bank - BK Department
      Post Office Box 103104
      Roswell, GA 30076
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      Medicredit Corporation **
      P.O. Box 411187
      Saint Louis, MO 63141-3187


      NC Department of Justice
      for NC Department of Revenue
      Post Office Box 629
      Raleigh, NC 27602-0629


      North Carolina Baptist Hospital
      Medical Center Boulevard
      Winston Salem, NC 27157


      North Carolina Dept. of Revenue**
      Post Office Box 1168
      Raleigh, NC 27602-1168


      Northwest Ear, Nose, Throat
      250 Johnson Ridge Medical Park
      Elkin, NC 28621


      Novant**
      PO Box 602584
      Charlotte, NC 28260-2584


      Optimum Outcomes
      2651 Warrenville Road
      Suite 5
      Downers Grove, IL 60515-5544


      Piedmont Imaging
      185 Kimel Park Drive
      Winston Salem, NC 27103


      Portfolio Recovery Associates ***
      Post Office Box 12914
      Norfolk, VA 23541


      Portfolio Recovery Associates ***
      Post Office Box 12914
      Norfolk, VA 23541


      Preferred Pain Managment
      Post Office Box 24848
      Winston Salem, NC 27114
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      Quest Diagnostics ***
      Post Office Box 3010
      Southeastern, PA 19398-3010


      Revivial Pain Management
      Post Office Box 100
      Jackson, NJ 08527


      RMB of North Carolina, Inc.
      409 Bearden Park Circle
      Knoxville, TN 37919


      Robert G. Peterson MD
      680 Parkwood Medical Park
      Elkin, NC 28621


      Rogers Townsend & Thomas, PC **
      2550 West Tyvola Road
      Suite 520
      Charlotte, NC 28217


      Springleaf Financial Services ****
      Post Office Box 3327
      Evansville, IN 47732-3327


      Stern and Associates, P.A.
      415 North Edgeworth Street
      Suite 210
      Greensboro, NC 27401


      TekCollect
      871 Park Street
      Columbus, OH 43215


      The Honorable Eric Holder
      U.S. Department of Justice
      950 Pennsylvania Ave. NW
      Washington, DC 20530-0001


      West Forsyth Family
      105 Stadium Oaks Drive
      Clemmons, NC 27012
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      Winston Neurology
      1492 Rymco Drive
      Winston Salem, NC 27103


      World Omni
      Attn: Managing Agent
      Post Office Box 991817
      Mobile, AL 36691-1817


      Yadkin County Tax Department
      Yadkin County Courthouse
      Post Office Box 1217
      Yadkinville, NC 27055


      Yadkin Medical Associates
      Post Office Box 30143
      Charlotte, NC 28230


      Yadkin River Radiology PA
      1365 Westgate Center Drive, Ste K-1
      Winston Salem, NC 27103-3106


      Yadkin Vision Center
      Post Office Box 565
      Morrisville, NC 27560
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                                                              United States Bankruptcy Court
                                                   Middle District of North Carolina (NC Exemptions)
            Gregory John Stout
 In re      Donna Norman Stout                                                                     Case No.
                                                                                Debtor(s)          Chapter     13




                                              VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: October 17, 2014                                              /s/ Gregory John Stout
                                                                     Gregory John Stout
                                                                     Signature of Debtor

 Date: October 17, 2014                                              /s/ Donna Norman Stout
                                                                     Donna Norman Stout
                                                                     Signature of Debtor




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